                                 Case 6:19-bk-07805-KJ                  Doc 1       Filed 11/26/19           Page 1 of 57
 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     ________________ District of ________

     Case number (If known): _________________________ Chapter you are filing under:
                                                              ✔ Chapter 7
                                                                 Chapter 11
                                                                 Chapter 12
                                                                 Chapter 13                                                    Check if this is an
                                                                                                                               amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                             12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Part 1:       Identify Yourself

                                        About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture
                                        Michael
                                        __________________________________________________           Sylvia
                                                                                                     __________________________________________________
                                        First name                                                    First name
       identification (for example,
       your driver’s license or         John
                                        __________________________________________________            __________________________________________________
       passport).                       Middle name                                                   Middle name

       Bring your picture               Baez
                                        __________________________________________________           Baez
                                                                                                     __________________________________________________
       identification to your meeting   Last name                                                     Last name
       with the trustee.                ___________________________                                   ___________________________
                                        Suffix (Sr., Jr., II, III)                                    Suffix (Sr., Jr., II, III)




2.    All other names you               N/A
                                        __________________________________________________           N/A
                                                                                                     __________________________________________________
      have used in the last 8           First name                                                    First name
      years
                                        __________________________________________________            __________________________________________________
       Include your married or          Middle name                                                   Middle name
       maiden names.                    __________________________________________________            __________________________________________________
                                        Last name                                                     Last name

                                        __________________________________________________            __________________________________________________
                                        First name                                                    First name

                                        __________________________________________________            __________________________________________________
                                        Middle name                                                   Middle name
                                        __________________________________________________            __________________________________________________
                                        Last name                                                     Last name




3.    Only the last 4 digits of
      your Social Security              xxx    – xx – ____
                                                        5 ____
                                                            5 ____
                                                                1 ____
                                                                   3                                 xxx     – xx – ____
                                                                                                                      1 ____
                                                                                                                          3 ____
                                                                                                                             9 ____
                                                                                                                                 4
      number or federal                 OR                                                           OR
      Individual Taxpayer
      Identification number             9 xx – xx – ____ ____ ____ ____                              9 xx – xx – ____ ____ ____ ____
      (ITIN)

Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                           page 1
                             Case 6:19-bk-07805-KJ                         Doc 1         Filed 11/26/19          Page 2 of 57

Debtor 1        Michael      John Baez
                _______________________________________________________                            Case number (if known)_____________________________________
                First Name   Middle Name             Last Name




                                           About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):


4.    Any business names
      and Employer                         ✔ I have not used any business names or EINs.                ✔ I have not used any business names or EINs.
      Identification Numbers
      (EIN) you have used in               _________________________________________________            _________________________________________________
      the last 8 years                     Business name                                                Business name

      Include trade names and
                                           _________________________________________________            _________________________________________________
      doing business as names              Business name                                                Business name


                                           ___ ___ – ___ ___ ___ ___ ___ ___ ___                        ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                           EIN                                                          EIN

                                           ___ ___ – ___ ___ ___ ___ ___ ___ ___                        ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                           EIN                                                          EIN




5.    Where you live                                                                                    If Debtor 2 lives at a different address:


                                           1110  Umbria Lane
                                           _________________________________________________            1110  Umbria Lane
                                                                                                        _________________________________________________
                                           Number       Street                                          Number       Street


                                           _________________________________________________            _________________________________________________


                                           St Cloud                        Fl      34771
                                           _________________________________________________            St Cloud                        FL      34771
                                                                                                        _________________________________________________
                                           City                            State   ZIP Code             City                            State   ZIP Code

                                           _________________________________________________            _________________________________________________
                                           County                                                       County


                                           If your mailing address is different from the one            If Debtor 2’s mailing address is different from
                                           above, fill it in here. Note that the court will send        yours, fill it in here. Note that the court will send
                                           any notices to you at this mailing address.                  any notices to this mailing address.


                                           _________________________________________________            _________________________________________________
                                           Number     Street                                            Number     Street


                                           _________________________________________________            _________________________________________________
                                           P.O. Box                                                     P.O. Box

                                           _________________________________________________            _________________________________________________
                                           City                            State   ZIP Code             City                            State   ZIP Code




6.    Why you are choosing                 Check one:                                                   Check one:
      this district to file for
      bankruptcy
                                           ✔ Over the last 180 days before filing this petition,        ✔ Over the last 180 days before filing this petition,
                                              I have lived in this district longer than in any             I have lived in this district longer than in any
                                              other district.                                              other district.

                                              I have another reason. Explain.                              I have another reason. Explain.
                                              (See 28 U.S.C. § 1408.)                                      (See 28 U.S.C. § 1408.)
                                              ________________________________________                     ________________________________________
                                              ________________________________________                     ________________________________________
                                              ________________________________________                     ________________________________________
                                              ________________________________________                     ________________________________________



     Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                   page 2
                             Case 6:19-bk-07805-KJ                        Doc 1       Filed 11/26/19            Page 3 of 57

Debtor 1        Michael      John Baez
                _______________________________________________________                            Case number (if known)_____________________________________
                First Name   Middle Name             Last Name




Part 2:       Tell the Court About Your Bankruptcy Case


7.    The chapter of the                   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you                  for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
      under                                ✔ Chapter 7
                                              Chapter 11
                                              Chapter 12
                                              Chapter 13


8.    How you will pay the fee             ✔ I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                              local court for more details about how you may pay. Typically, if you are paying the fee
                                              yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                              submitting your payment on your behalf, your attorney may pay with a credit card or check
                                              with a pre-printed address.

                                              I need to pay the fee in installments. If you choose this option, sign and attach the
                                              Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                              I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                              By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                              less than 150% of the official poverty line that applies to your family size and you are unable to
                                              pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                              Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for                   ✔ No
      bankruptcy within the
      last 8 years?                           Yes. District __________________________ When       _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY

                                                     District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY

                                                     District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY



10.   Are any bankruptcy                   ✔ No
      cases pending or being
      filed by a spouse who is                Yes. Debtor _________________________________________________ Relationship to you        _____________________
      not filing this case with                      District __________________________ When     _______________ Case number, if known____________________
      you, or by a business                                                                       MM / DD / YYYY
      partner, or by an
      affiliate?
                                                     Debtor _________________________________________________ Relationship to you      _____________________

                                                     District __________________________ When     _______________ Case number, if known____________________
                                                                                                  MM / DD / YYYY



11.   Do you rent your                     ✔ No.   Go to line 12.
      residence?                              Yes. Has your landlord obtained an eviction judgment against you?

                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                         part of this bankruptcy petition.




     Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                   page 3
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Debtor 1        Michael       John Baez
                _______________________________________________________                                   Case number (if known)_____________________________________
                First Name        Middle Name            Last Name




Part 3:       Report About Any Businesses You Own as a Sole Proprietor


12.   Are you a sole proprietor                 ✔ No. Go to Part 4.
      of any full- or part-time
      business?                                    Yes. Name and location of business
      A sole proprietorship is a
      business you operate as an                        _______________________________________________________________________________________
                                                        Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or                    _______________________________________________________________________________________
                                                        Number    Street
      LLC.
      If you have more than one
                                                        _______________________________________________________________________________________
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.                                 _______________________________________________          _______      __________________________
                                                         City                                                    State        ZIP Code


                                                        Check the appropriate box to describe your business:
                                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                            None of the above


13.   Are you filing under                      If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
      Chapter 11 of the                         can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
      Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                                any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      are you a small business
      debtor?
                                                ✔ No.   I am not filing under Chapter 11.
      For a definition of small
      business debtor, see                         No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      11 U.S.C. § 101(51D).                            the Bankruptcy Code.

                                                   Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                        Bankruptcy Code.


Part 4:       Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14.   Do you own or have any                    ✔ No
      property that poses or is
      alleged to pose a threat                     Yes. What is the hazard?       ________________________________________________________________________
      of imminent and
      identifiable hazard to                                                      ________________________________________________________________________
      public health or safety?
      Or do you own any
      property that needs
                                                          If immediate attention is needed, why is it needed? _______________________________________________
      immediate attention?
      For example, do you own                                                     ________________________________________________________________________
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                          Where is the property? ________________________________________________________________________
                                                                                  Number         Street


                                                                                  ________________________________________________________________________

                                                                                  ________________________________________ _______           ____________________
                                                                                  City                                     State             ZIP Code


  Official Form 101                                      Voluntary Petition for Individuals Filing for Bankruptcy                                    page 4
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Debtor 1        Michael
                First Name
                               John Baez
                _______________________________________________________
                             Middle Name      Last Name
                                                                                                     Case number (if known)_____________________________________




Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling

                                        About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      briefing about credit             You must check one:                                                You must check one:
      counseling.
                                        ✔ I received a briefing from an approved credit                    ✔ I received a briefing from an approved credit
                                           counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      The law requires that you            filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
      receive a briefing about credit      certificate of completion.                                         certificate of completion.
      counseling before you file for
                                           Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
      bankruptcy. You must
                                           plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. If you            I received a briefing from an approved credit                      I received a briefing from an approved credit
      cannot do so, you are not            counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      eligible to file.                    filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                           certificate of completion.                                         certificate of completion.
      If you file anyway, the court
                                           Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
      can dismiss your case, you
                                           you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
      will lose whatever filing fee
                                           plan, if any.                                                      plan, if any.
      you paid, and your creditors
      can begin collection activities      I certify that I asked for credit counseling                       I certify that I asked for credit counseling
      again.                               services from an approved agency, but was                          services from an approved agency, but was
                                           unable to obtain those services during the 7                       unable to obtain those services during the 7
                                           days after I made my request, and exigent                          days after I made my request, and exigent
                                           circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                           of the requirement.                                                of the requirement.
                                           To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                           requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                           what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                           you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                           bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                           required you to file this case.                                    required you to file this case.
                                           Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                           dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                           briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                           If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                           still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                           You must file a certificate from the approved                      You must file a certificate from the approved
                                           agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                           developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                           may be dismissed.                                                  may be dismissed.
                                           Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                           only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                           days.                                                              days.

                                           I am not required to receive a briefing about                      I am not required to receive a briefing about
                                           credit counseling because of:                                      credit counseling because of:

                                              Incapacity.     I have a mental illness or a mental                 Incapacity.    I have a mental illness or a mental
                                                              deficiency that makes me                                           deficiency that makes me
                                                              incapable of realizing or making                                   incapable of realizing or making
                                                              rational decisions about finances.                                 rational decisions about finances.
                                              Disability.     My physical disability causes me                    Disability.    My physical disability causes me
                                                              to be unable to participate in a                                   to be unable to participate in a
                                                              briefing in person, by phone, or                                   briefing in person, by phone, or
                                                              through the internet, even after I                                 through the internet, even after I
                                                              reasonably tried to do so.                                         reasonably tried to do so.
                                              Active duty. I am currently on active military                      Active duty. I am currently on active military
                                                           duty in a military combat zone.                                     duty in a military combat zone.
                                           If you believe you are not required to receive a                   If you believe you are not required to receive a
                                           briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                           motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




  Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                         page 5
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Debtor 1       Michael         John            Baez
               _______________________________________________________                                Case number (if known)_____________________________________
               First Name    Middle Name             Last Name




Part 6:      Answer These Questions for Reporting Purposes

                                           16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                     as “incurred by an individual primarily for a personal, family, or household purpose.”
      you have?
                                                    No. Go to line 16b.
                                                    Yes. Go to line 17.

                                           16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                money for a business or investment or through the operation of the business or investment.
                                                    No. Go to line 16c.
                                                    Yes. Go to line 17.

                                           16c. State the type of debts you owe that are not consumer debts or business debts.
                                                _______________________________________________________________

17.   Are you filing under
      Chapter 7?                              No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after              Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      any exempt property is                       administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and                                  ✔ No
      administrative expenses
      are paid that funds will be                       Yes
      available for distribution
      to unsecured creditors?

18.   How many creditors do                ✔ 1-49                                     1,000-5,000                                25,001-50,000
      you estimate that you                   50-99                                   5,001-10,000                               50,001-100,000
      owe?                                    100-199                                 10,001-25,000                              More than 100,000
                                              200-999

19.   How much do you                         $0-$50,000                              $1,000,001-$10 million                     $500,000,001-$1 billion
      estimate your assets to                 $50,001-$100,000                        $10,000,001-$50 million                    $1,000,000,001-$10 billion
      be worth?                               $100,001-$500,000                       $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                              $500,001-$1 million                     $100,000,001-$500 million                  More than $50 billion

20.   How much do you                         $0-$50,000                              $1,000,001-$10 million                     $500,000,001-$1 billion
      estimate your liabilities               $50,001-$100,000                        $10,000,001-$50 million                    $1,000,000,001-$10 billion
      to be?                                  $100,001-$500,000                       $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                              $500,001-$1 million                     $100,000,001-$500 million                  More than $50 billion
Part 7:      Sign Below

                                           I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                    correct.
                                           If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                           of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                           under Chapter 7.
                                           If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                           this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                           I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                           I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                           with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                           18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                              ______________________________________________                  _____________________________
                                              Signature of Debtor 1                                           Signature of Debtor 2

                                              Executed on 11/05/2019
                                                          _________________                                   Executed on 11/05/2019
                                                                                                                          __________________
                                                                 MM   / DD   / YYYY                                          MM / DD     / YYYY


  Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                       page 6
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Debtor 1     Michael       John Baez
             _______________________________________________________                               Case number (if known)_____________________________________
             First Name   Middle Name             Last Name




                                        I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are           to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                      available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                        the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented              knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                            _________________________________                               Date          _________________
                                                                                                                         11/05/2019
                                           Signature of Attorney for Debtor                                               MM     /   DD / YYYY




                                           Peri Sedigh
                                           _________________________________________________________________________________________________
                                           Printed name

                                           Sedigh  Law
                                           _________________________________________________________________________________________________
                                           Firm name

                                           2443  Grandview Ave
                                           _________________________________________________________________________________________________
                                           Number      Street

                                           _________________________________________________________________________________________________

                                           Sanford
                                           ______________________________________________________FL
                                                                                                 ____________ 32771
                                                                                                              ______________________________
                                           City                                                            State          ZIP Code




                                           Contact phone 321  - 230-0589
                                                         _____________________________________             Email address PeriSedighLaw@yahoo.com
                                                                                                                          ______________________________




                                           116587
                                           ______________________________________________________FL
                                                                                                 ____________
                                           Bar number                                                      State




  Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                       page 7
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B 1D (Official Form 1, Exhibit D) (12/09)



                         UNITED STATES BANKRUPTCY COURT
                                            __________ District of __________


          In re__________________________
               Michael John Baez                                                Case No._____________
                                Debtor                                                    (if known)




     EXHIBIT D - INDIVIDUAL DEBTOR’S STATEMENT OF COMPLIANCE WITH
                     CREDIT COUNSELING REQUIREMENT

        Warning: You must be able to check truthfully one of the five statements regarding
credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
case, and the court can dismiss any case you do file. If that happens, you will lose whatever
filing fee you paid, and your creditors will be able to resume collection activities against
you. If your case is dismissed and you file another bankruptcy case later, you may be
required to pay a second filing fee and you may have to take extra steps to stop creditors’
collection activities.

       Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
must complete and file a separate Exhibit D. Check one of the five statements below and attach
any documents as directed.

       ’ 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
       ✔
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
developed through the agency.

        ’ 2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, but I do not have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the
services provided to you and a copy of any debt repayment plan developed through the agency
no later than 14 days after your bankruptcy case is filed.
                 Case 6:19-bk-07805-KJ              Doc 1   Filed 11/26/19   Page 9 of 57



                                                                                               Page 2
  B 1D (Official Form 1, Exh. D) (12/09) – Cont.


        ’ 3. I certify that I requested credit counseling services from an approved agency but
was unable to obtain the services during the seven days from the time I made my request, and the
following exigent circumstances merit a temporary waiver of the credit counseling requirement
so I can file my bankruptcy case now. [Summarize exigent circumstances here.]
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


       If your certification is satisfactory to the court, you must still obtain the credit
counseling briefing within the first 30 days after you file your bankruptcy petition and
promptly file a certificate from the agency that provided the counseling, together with a
copy of any debt management plan developed through the agency. Failure to fulfill these
requirements may result in dismissal of your case. Any extension of the 30-day deadline
can be granted only for cause and is limited to a maximum of 15 days. Your case may also
be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.

       ’ 4. I am not required to receive a credit counseling briefing because of: [Check the
applicable statement.] [Must be accompanied by a motion for determination by the court.]

                 ’ Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
         illness or mental deficiency so as to be incapable of realizing and making rational
         decisions with respect to financial responsibilities.);
                 ’ Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
         extent of being unable, after reasonable effort, to participate in a credit counseling
         briefing in person, by telephone, or through the Internet.);
                 ’ Active military duty in a military combat zone.

       ’ 5. The United States trustee or bankruptcy administrator has determined that the credit
counseling requirement of 11 U.S.C. ' 109(h) does not apply in this district.


       I certify under penalty of perjury that the information provided above is true and
correct.


                                          Signature of Debtor: ________________________

                                          Date: _________________
                                                11/05/2019




Reset                                                                    Save As...         Print
                  Case 6:19-bk-07805-KJ              Doc 1    Filed 11/26/19     Page 10 of 57



B 1D (Official Form 1, Exhibit D) (12/09)



                         UNITED STATES BANKRUPTCY COURT
                                            __________ District of __________


          In re__________________________
               Sylvia Baez                                                      Case No._____________
                                Debtor                                                    (if known)




     EXHIBIT D - INDIVIDUAL DEBTOR’S STATEMENT OF COMPLIANCE WITH
                     CREDIT COUNSELING REQUIREMENT

        Warning: You must be able to check truthfully one of the five statements regarding
credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
case, and the court can dismiss any case you do file. If that happens, you will lose whatever
filing fee you paid, and your creditors will be able to resume collection activities against
you. If your case is dismissed and you file another bankruptcy case later, you may be
required to pay a second filing fee and you may have to take extra steps to stop creditors’
collection activities.

       Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
must complete and file a separate Exhibit D. Check one of the five statements below and attach
any documents as directed.

       ’ 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
       ✔
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
developed through the agency.

        ’ 2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, but I do not have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the
services provided to you and a copy of any debt repayment plan developed through the agency
no later than 14 days after your bankruptcy case is filed.
                Case 6:19-bk-07805-KJ               Doc 1   Filed 11/26/19   Page 11 of 57



                                                                                               Page 2
  B 1D (Official Form 1, Exh. D) (12/09) – Cont.


        ’ 3. I certify that I requested credit counseling services from an approved agency but
was unable to obtain the services during the seven days from the time I made my request, and the
following exigent circumstances merit a temporary waiver of the credit counseling requirement
so I can file my bankruptcy case now. [Summarize exigent circumstances here.]
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


       If your certification is satisfactory to the court, you must still obtain the credit
counseling briefing within the first 30 days after you file your bankruptcy petition and
promptly file a certificate from the agency that provided the counseling, together with a
copy of any debt management plan developed through the agency. Failure to fulfill these
requirements may result in dismissal of your case. Any extension of the 30-day deadline
can be granted only for cause and is limited to a maximum of 15 days. Your case may also
be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.

       ’ 4. I am not required to receive a credit counseling briefing because of: [Check the
applicable statement.] [Must be accompanied by a motion for determination by the court.]

                 ’ Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
         illness or mental deficiency so as to be incapable of realizing and making rational
         decisions with respect to financial responsibilities.);
                 ’ Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
         extent of being unable, after reasonable effort, to participate in a credit counseling
         briefing in person, by telephone, or through the Internet.);
                 ’ Active military duty in a military combat zone.

       ’ 5. The United States trustee or bankruptcy administrator has determined that the credit
counseling requirement of 11 U.S.C. ' 109(h) does not apply in this district.


       I certify under penalty of perjury that the information provided above is true and
correct.


                                          Signature of Debtor: ________________________

                                          Date: _________________
                                                11/05/2019




Reset                                                                    Save As...          Print
                                  Case 6:19-bk-07805-KJ                                Doc 1            Filed 11/26/19                    Page 12 of 57


 Fill in this information to identify your case:

 Debtor 1          Michael                           John
                   __________________________________________________________________
                   First Name                        Middle Name
                                                                                          Baez
                                                                                      Last Name

 Debtor 2            Sylvia                                          Baez
                     ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the: __________ District of __________

 Case number         ___________________________________________                                                                                                               Check if this is an
                     (If known)                                                                                                                                                amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Part 1:        Summarize Your Assets


                                                                                                                                                                        Your assets
                                                                                                                                                                        Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ..........................................................................................................
                                                                                                                                                                                     245.000
                                                                                                                                                                            $ ________________



   1b. Copy line 62, Total personal property, from Schedule A/B ...............................................................................................                    88,653.83
                                                                                                                                                                            $ ________________


   1c. Copy line 63, Total of all property on Schedule A/B .........................................................................................................
                                                                                                                                                                                 331,656.83
                                                                                                                                                                            $ ________________



Part 2:        Summarize Your Liabilities



                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............
                                                                                                                                                                                   70,170.03
                                                                                                                                                                            $ ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                                            0
                                                                                                                                                                            $ ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ............................................

   3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                        +         112,812.49
                                                                                                                                                                            $ ________________


                                                                                                                                       Your total liabilities                    182,982.52
                                                                                                                                                                            $ ________________



Part 3:        Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                                    4,081.00
                                                                                                                                                                            $ ________________
   Copy your combined monthly income from line 12 of Schedule I ..........................................................................................

5. Schedule J: Your Expenses (Official Form 106J)
   Copy your monthly expenses from line 22c of Schedule J ....................................................................................................                      4,751.00
                                                                                                                                                                            $ ________________




Official Form 106Sum                                 Summary of Your Assets and Liabilities and Certain Statistical Information                                                  page 1 of 2
                                    Case 6:19-bk-07805-KJ                  Doc 1        Filed 11/26/19            Page 13 of 57
   Debtor 1         Michael                John                     Baez
                    _______________________________________________________                           Case number (if known)_____________________________________
                     First Name     Middle Name         Last Name




   Part 4:          Answer These Questions for Administrative and Statistical Records

   6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

              No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
              Yes


   7. What kind of debt do you have?

       ✔ Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
              family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

              Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
              this form to the court with your other schedules.



   8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
       Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                       2,332.11
                                                                                                                                          $ _________________




   9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                               Total claim


        From Part 4 on Schedule E/F, copy the following:


       9a. Domestic support obligations (Copy line 6a.)                                                                            0
                                                                                                               $_____________________



       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                                   0
                                                                                                               $_____________________


       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                         0
                                                                                                               $_____________________



       9d. Student loans. (Copy line 6f.)                                                                                          0
                                                                                                               $_____________________


       9e. Obligations arising out of a separation agreement or divorce that you did not report as                                 0
                                                                                                               $_____________________
           priority claims. (Copy line 6g.)

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +                       0
                                                                                                               $_____________________



       9g. Total. Add lines 9a through 9f.                                                                                         0
                                                                                                               $_____________________




Official Form 106Sum          Summary of Your Assets and Liabilities and Certain Statistical Information                                         page 2 of 2
                Print                             Save As...                                                                                    Reset
                                 Case 6:19-bk-07805-KJ                      Doc 1         Filed 11/26/19       Page 14 of 57

Fill in this information to identify your case and this filing:


Debtor 1           Michael               John                          Baez
                  __________________________________________________________________
                    First Name               Middle Name               Last Name

Debtor 2             Sylvia                                      Baez
                    ________________________________________________________________
(Spouse, if filing) First Name               Middle Name               Last Name


United States Bankruptcy Court for the: __________ District of ___________

Case number         ___________________________________________
                                                                                                                                             Check if this is an
                                                                                                                                             amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                  12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

         No. Go to Part 2.
         Yes. Where is the property?
                                                                 What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                 ✔   Single-family home                            the amount of any secured claims on Schedule D:
           1110 Umbria Lane
      1.1. _________________________________________                                                               Creditors Who Have Claims Secured by Property.
                                                                     Duplex or multi-unit building
           Street address, if available, or other description
                                                                     Condominium or cooperative                    Current value of the     Current value of the
                                                                     Manufactured or mobile home                   entire property?         portion you own?
             _________________________________________
                                                                     Land                                                  308,000
                                                                                                                   $________________                245,000
                                                                                                                                            $_______________
                                                                     Investment property
             ST. CLOUD                FL     34771
             _________________________________________                                                             Describe the nature of your ownership
                                                                     Timeshare
             City                    State   ZIP Code                                                              interest (such as fee simple, tenancy by
                                                                     Other __________________________________
                                                                                                                   the entireties, or a life estate), if known.
                                                                 Who has an interest in the property? Check one.
                                                                                                                   __________________________________________
             OSCEOLA                                                 Debtor 1 only
             _________________________________________
             County                                                  Debtor 2 only
                                                                     Debtor 1 and Debtor 2 only                       Check if this is community property
                                                                                                                      (see instructions)
                                                                     At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________
    If you own or have more than one, list here:
                                                                What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                    Single-family home                             the amount of any secured claims on Schedule D:
      1.2. ________________________________________                                                                Creditors Who Have Claims Secured by Property.
                                                                    Duplex or multi-unit building
           Street address, if available, or other description
                                                                   Condominium or cooperative                      Current value of the     Current value of the
                                                                    Manufactured or mobile home                    entire property?         portion you own?
             ________________________________________
                                                                    Land                                           $________________        $_________________
                                                                    Investment property
             ________________________________________
                                                                    Timeshare
                                                                                                                   Describe the nature of your ownership
             City                    State   ZIP Code                                                              interest (such as fee simple, tenancy by
                                                                    Other __________________________________       the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.    __________________________________________

                                                                   Debtor 1 only
             ________________________________________
             County                                                Debtor 2 only
                                                                   Debtor 1 and Debtor 2 only                         Check if this is community property
                                                                   At least one of the debtors and another            (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number: _______________________________


Official Form 106A/B                                            Schedule A/B: Property                                                              page 1
                           Case 6:19-bk-07805-KJ Doc 1                                      Filed 11/26/19           Page 15 of 57
Debtor 1       Michael             John                     Baez
               _______________________________________________________                                  Case number (if known)_____________________________________
                First Name       Middle Name          Last Name




                                                                  What is the property? Check all that apply.              Do not deduct secured claims or exemptions. Put
                                                                      Single-family home                                   the amount of any secured claims on Schedule D:
    1.3. ________________________________________                                                                          Creditors Who Have Claims Secured by Property.
         Street address, if available, or other description           Duplex or multi-unit building
                                                                     Condominium or cooperative                            Current value of the     Current value of the
                                                                                                                           entire property?         portion you own?
            ________________________________________                  Manufactured or mobile home
                                                                      Land                                                 $________________        $_________________

            ________________________________________
                                                                      Investment property
            City                    State   ZIP Code                  Timeshare                                            Describe the nature of your ownership
                                                                                                                           interest (such as fee simple, tenancy by
                                                                      Other __________________________________             the entireties, or a life estate), if known.
                                                                                                                          __________________________________________
                                                                  Who has an interest in the property? Check one.
            ________________________________________                 Debtor 1 only
            County
                                                                     Debtor 2 only
                                                                     Debtor 1 and Debtor 2 only                                Check if this is community property
                                                                                                                               (see instructions)
                                                                     At least one of the debtors and another

                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number: _______________________________


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                          245,000
                                                                                                                                                    $_________________
   you have attached for Part 1. Write that number here. ......................................................................................




Part 2:      Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

       No
       Yes


   3.1.     Make:                       Honda
                                       ______________             Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
                                                                                                                           the amount of any secured claims on Schedule D:
            Model:                      Element
                                       ______________
                                                                     Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
                                                                     Debtor 2 only
            Year:                       2007
                                       ____________
                                                                     Debtor 1 and Debtor 2 only                            Current value of the      Current value of the
                                 120,000
            Approximate mileage: ____________                                                                              entire property?          portion you own?
                                                                     At least one of the debtors and another
            Other information:
                                                                                                                                      4,500
                                                                                                                           $________________                    4,500
                                                                                                                                                     $________________
                                                                     Check if this is community property (see
                                                                     instructions)



   If you own or have more than one, describe here:

   3.2.    Make:                        KIA
                                       ______________             Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
                                                                                                                           the amount of any secured claims on Schedule D:
           Model:                       NIRO
                                       ______________
                                                                     Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
                                                                     Debtor 2 only
           Year:                        2019
                                       ____________                                                                        Current value of the      Current value of the
                                                                     Debtor 1 and Debtor 2 only
                                30,000                                                                                     entire property?          portion you own?
           Approximate mileage: ____________                         At least one of the debtors and another
           Other information:
                                                                                                                                     19,000
                                                                                                                           $________________                        0
                                                                                                                                                     $________________
                                                                     Check if this is community property (see
                                                                     instructions)




Official Form 106A/B                                              Schedule A/B: Property                                                                    page 2
                             Case 6:19-bk-07805-KJ Doc 1                                                     Filed 11/26/19                     Page 16 of 57
Debtor 1         Michael             John                     Baez
                 _______________________________________________________                                                        Case number (if known)_____________________________________
                  First Name          Middle Name               Last Name




           Make:                             ______________                  Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   3.3.
                                                                                                                                                        the amount of any secured claims on Schedule D:
           Model:                            ______________
                                                                                  Debtor 1 only                                                         Creditors Who Have Claims Secured by Property.
                                                                                  Debtor 2 only
           Year:                             ____________                                                                                               Current value of the        Current value of the
                                                                                  Debtor 1 and Debtor 2 only
           Approximate mileage: ____________                                                                                                            entire property?            portion you own?
                                                                                  At least one of the debtors and another
           Other information:
                                                                                  Check if this is community property (see                              $________________           $________________
                                                                                  instructions)


           Make:                             ______________                  Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   3.4.
                                                                                                                                                        the amount of any secured claims on Schedule D:
           Model:                            ______________
                                                                                  Debtor 1 only                                                         Creditors Who Have Claims Secured by Property.
                                                                                  Debtor 2 only
           Year:                             ____________                                                                                               Current value of the        Current value of the
                                                                                  Debtor 1 and Debtor 2 only
           Approximate mileage: ____________                                                                                                            entire property?            portion you own?
                                                                                  At least one of the debtors and another
           Other information:
                                                                                  Check if this is community property (see                              $________________           $________________
                                                                                  instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   ✔    No
        Yes


           Make:        ____________________                                 Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.1.
                                                                                                                                                        the amount of any secured claims on Schedule D:
           Model: ____________________                                            Debtor 1 only                                                         Creditors Who Have Claims Secured by Property.
                                                                                  Debtor 2 only
           Year:        ____________
                                                                                  Debtor 1 and Debtor 2 only                                            Current value of the        Current value of the
           Other information:                                                     At least one of the debtors and another                               entire property?            portion you own?

                                                                                  Check if this is community property (see                              $________________           $________________
                                                                                  instructions)



   If you own or have more than one, list here:

           Make:        ____________________                                 Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.2.
                                                                                                                                                        the amount of any secured claims on Schedule D:
           Model: ____________________                                            Debtor 1 only                                                         Creditors Who Have Claims Secured by Property.
                                                                                  Debtor 2 only
           Year:        ____________                                                                                                                    Current value of the        Current value of the
                                                                                  Debtor 1 and Debtor 2 only
                                                                                                                                                        entire property?            portion you own?
           Other information:                                                     At least one of the debtors and another

                                                                                                                                                        $________________           $________________
                                                                                  Check if this is community property (see
                                                                                  instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                            4,500
                                                                                                                                                                                   $_________________
   you have attached for Part 2. Write that number here ........................................................................................................................




Official Form 106A/B                                                           Schedule A/B: Property                                                                                     page 3
                              Case 6:19-bk-07805-KJ Doc 1                                                               Filed 11/26/19                         Page 17 of 57
Debtor 1          Michael             John                     Baez
                  _______________________________________________________                                                                    Case number (if known)_____________________________________
                    First Name           Middle Name                   Last Name




Part 3:        Describe Your Personal and Household Items

                                                                                                                                                                                             Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                            portion you own?
                                                                                                                                                                                             Do not deduct secured claims
                                                                                                                                                                                             or exemptions.

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
        No
        Yes. Describe. ........           Furniture, Appliances, Linens, Kitchenware                                                                                                                        2,000
                                                                                                                                                                                              $___________________

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
        No
        Yes. Describe. .........          TV, 2 celphones, 1computer                                                                                                                                       600.00
                                                                                                                                                                                              $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   ✔ No
      Yes. Describe. .........                                                                                                                                                                $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   ✔ No
        Yes. Describe. .........                                                                                                                                                              $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   ✔ No
      Yes. Describe. ..........                                                                                                                                                               $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
        No
        Yes. Describe. ..........         Everyday Clothing, Homewear Sleepwear, Shoes                                                                                                                        300
                                                                                                                                                                                              $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
        No
        Yes. Describe. .......... Wedding                   Band, Watch, Ring , costume                                                                                                                       300
                                                                                                                                                                                              $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

   ✔    No
        Yes. Describe. ..........                                                                                                                                                             $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

   ✔ No
        Yes. Give specific
                                                                                                                                                                                              $___________________
        information. ..............

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
                                                                                                                                                                                                              3,200
                                                                                                                                                                                              $______________________
   for Part 3. Write that number here ....................................................................................................................................................



Official Form 106A/B                                                                  Schedule A/B: Property                                                                                              page 4
                             Case 6:19-bk-07805-KJ Doc 1                                                                             Filed 11/26/19                          Page 18 of 57
Debtor 1         Michael             John                     Baez
                 _______________________________________________________                                                                                     Case number (if known)_____________________________________
                   First Name              Middle Name                       Last Name




Part 4:      Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                   Current value of the
                                                                                                                                                                                                              portion you own?
                                                                                                                                                                                                              Do not deduct secured claims
                                                                                                                                                                                                              or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   ✔ No
      Yes ................................................................................................................................................................    Cash: .......................                     0
                                                                                                                                                                                                               $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
      No
      Yes .....................                                                                 Institution name:


                                            17.1. Checking account:                             Bank of America #7353
                                                                                                _________________________________________________________                                                                9,051.00
                                                                                                                                                                                                               $__________________

                                            17.2. Checking account:                             Bank of America #4582
                                                                                                _________________________________________________________                                                                  742.84
                                                                                                                                                                                                               $__________________

                                            17.3. Savings account:                              _________________________________________________________                                                      $__________________

                                            17.4. Savings account:                              _________________________________________________________                                                      $__________________

                                            17.5. Certificates of deposit:                      _________________________________________________________                                                      $__________________

                                            17.6. Other financial account:                      _________________________________________________________                                                      $__________________

                                            17.7. Other financial account:                      _________________________________________________________                                                      $__________________

                                            17.8. Other financial account:                      _________________________________________________________                                                      $__________________

                                            17.9. Other financial account:                      _________________________________________________________                                                      $__________________




18. Bonds, mutual funds, or publicly traded stocks
  Examples: Bond funds, investment accounts with brokerage firms, money market accounts
   ✔ No
      Yes .................                 Institution or issuer name:

                                            _________________________________________________________________________________________                                                                          $__________________
                                            _________________________________________________________________________________________                                                                          $__________________
                                            _________________________________________________________________________________________                                                                          $__________________




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture

   ✔ No                                     Name of entity:                                                                                                                   % of ownership:
      Yes. Give specific                    _____________________________________________________________________                                                              0%
                                                                                                                                                                              ___________%                     $__________________
      information about
      them.........................         _____________________________________________________________________                                                              0%
                                                                                                                                                                              ___________%                     $__________________
                                            _____________________________________________________________________                                                              0%
                                                                                                                                                                              ___________%                     $__________________




Official Form 106A/B                                                                           Schedule A/B: Property                                                                                                      page 5
                            Case 6:19-bk-07805-KJ Doc 1                                         Filed 11/26/19      Page 19 of 57
Debtor 1        Michael                John Last Name       Baez
                _______________________________________________________
                First Name   Middle Name
                                                                                                         Case number (if known)_____________________________________




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

   ✔ No
       Yes. Give specific               Issuer name:
       information about
       them.......................      ______________________________________________________________________________________               $__________________
                                        ______________________________________________________________________________________
                                                                                                                                             $__________________
                                        ______________________________________________________________________________________
                                                                                                                                             $__________________


21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
       No
       Yes. List each
       account separately.              Type of account:          Institution name:

                                        401(k) or similar plan:   ___________________________________________________________________        $__________________

                                        Pension plan:             ___________________________________________________________________        $__________________

                                        IRA:                      ___________________________________________________________________        $__________________

                                        Retirement account:        BankersLife Secuities Michael Baez #9697
                                                                  ___________________________________________________________________                 71,152.99
                                                                                                                                             $__________________

                                        Keogh:                    ___________________________________________________________________        $__________________

                                        Additional account:       ___________________________________________________________________        $__________________

                                        Additional account:        MetLife Retirement services - Sylvia Baez #5981
                                                                  ___________________________________________________________________                         0
                                                                                                                                             $__________________



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

   ✔ No
       Yes ..........................                         Institution name or individual:

                                        Electric:             ______________________________________________________________________         $___________________
                                        Gas:                  ______________________________________________________________________         $___________________
                                        Heating oil:          ______________________________________________________________________
                                                                                                                                             $___________________
                                        Security deposit on rental unit: _____________________________________________________________
                                                                                                                                             $___________________
                                        Prepaid rent:         ______________________________________________________________________
                                                                                                                                             $___________________
                                        Telephone:            ______________________________________________________________________
                                                                                                                                             $___________________
                                        Water:                ______________________________________________________________________
                                                                                                                                             $___________________
                                        Rented furniture:     ______________________________________________________________________
                                                                                                                                             $___________________
                                        Other:                ______________________________________________________________________
                                                                                                                                             $___________________


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   ✔ No
       Yes ..........................   Issuer name and description:
                                        _______________________________________________________________________________________              $__________________
                                        _______________________________________________________________________________________              $__________________
                                        _______________________________________________________________________________________              $__________________


Official Form 106A/B                                                       Schedule A/B: Property                                                        page 6
                            Case 6:19-bk-07805-KJ Doc 1                                         Filed 11/26/19            Page 20 of 57
Debtor 1        Michael             John                    Baez
                _______________________________________________________                                       Case number (if known)_____________________________________
                  First Name            Middle Name            Last Name




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   ✔ No
       Yes ....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                                  ____________________________________________________________________________________                 $_________________
                                                  ____________________________________________________________________________________                 $_________________
                                                  ____________________________________________________________________________________                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit
   ✔   No
       Yes. Give specific
       information about them. ...                                                                                                                     $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   ✔ No
       Yes. Give specific
       information about them. ...                                                                                                                     $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   ✔ No
       Yes. Give specific
       information about them. ...                                                                                                                     $__________________


Money or property owed to you?                                                                                                                         Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

28. Tax refunds owed to you

   ✔ No
       Yes. Give specific information                                                                                        Federal:              $_________________
            about them, including whether
            you already filed the returns                                                                                    State:                $_________________
            and the tax years. .......................
                                                                                                                             Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   ✔ No
       Yes. Give specific information. .............
                                                                                                                            Alimony:                   $________________
                                                                                                                            Maintenance:               $________________
                                                                                                                            Support:                   $________________
                                                                                                                            Divorce settlement:        $________________
                                                                                                                            Property settlement:       $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
   ✔ No
       Yes. Give specific information. ..............
                                                                                                                                                       $______________________



Official Form 106A/B                                                       Schedule A/B: Property                                                                page 7
                              Case 6:19-bk-07805-KJ Doc 1                                                               Filed 11/26/19                         Page 21 of 57
Debtor 1          Michael             John                     Baez
                  _______________________________________________________                                                                    Case number (if known)_____________________________________
                    First Name           Middle Name                   Last Name




31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
   ✔ No
        Yes. Name the insurance company             Company name:                                                                                Beneficiary:                                  Surrender or refund value:
             of each policy and list its value. ...
                                                                     ___________________________________________ ____________________________                                                  $__________________
                                                                     ___________________________________________ ____________________________                                                  $__________________
                                                                     ___________________________________________ ____________________________                                                  $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
        No
        Yes. Give specific information. .............
                                                                                                                                                                                               $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   ✔ No
        Yes. Describe each claim. ....................
                                                                                                                                                                                               $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   ✔ No
        Yes. Describe each claim. ....................
                                                                                                                                                                                               $_____________________




35. Any financial assets you did not already list

   ✔ No
        Yes. Give specific information............
                                                                                                                                                                                               $_____________________


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here ....................................................................................................................................................               80,956.83
                                                                                                                                                                                               $_____________________




Part 5:          Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

   ✔ No. Go to Part 6.
        Yes. Go to line 38.
                                                                                                                                                                                             Current value of the
                                                                                                                                                                                             portion you own?
                                                                                                                                                                                             Do not deduct secured claims
                                                                                                                                                                                             or exemptions.

38. Accounts receivable or commissions you already earned

   ✔ No
        Yes. Describe .......
                                                                                                                                                                                             $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

   ✔ No
        Yes. Describe .......                                                                                                                                                                $_____________________



Official Form 106A/B                                                                  Schedule A/B: Property                                                                                              page 8
                              Case 6:19-bk-07805-KJ Doc 1                                                               Filed 11/26/19                         Page 22 of 57
Debtor 1          Michael             John                    Baez
                  _______________________________________________________                                                                    Case number (if known)_____________________________________
                    First Name            Middle Name                  Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   ✔ No
        Yes. Describe .......
                                                                                                                                                                                             $_____________________


41. Inventory
   ✔ No
        Yes. Describe .......                                                                                                                                                                $_____________________


42. Interests in partnerships or joint ventures

   ✔ No
        Yes. Describe ....... Name of entity:                                                                                                                        % of ownership:
                                         ______________________________________________________________________                                                      ________%               $_____________________
                                         ______________________________________________________________________                                                      ________%               $_____________________
                                         ______________________________________________________________________                                                      ________%               $_____________________


43. Customer lists, mailing lists, or other compilations
   ✔ No
        Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                      No
                      Yes. Describe. .......
                                                                                                                                                                                              $____________________


44. Any business-related property you did not already list
   ✔ No
        Yes. Give specific
                              ______________________________________________________________________________________                                                                          $____________________
        information .........
                                         ______________________________________________________________________________________                                                               $____________________

                                         ______________________________________________________________________________________                                                               $____________________

                                         ______________________________________________________________________________________                                                               $____________________

                                         ______________________________________________________________________________________                                                               $____________________

                                         ______________________________________________________________________________________                                                               $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
                                                                                                                                                                                              $____________________
   for Part 5. Write that number here ....................................................................................................................................................




Part 6:          Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                 If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   ✔ No. Go to Part 7.
        Yes. Go to line 47.
                                                                                                                                                                                             Current value of the
                                                                                                                                                                                             portion you own?
                                                                                                                                                                                             Do not deduct secured claims
                                                                                                                                                                                             or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
   ✔ No
        Yes ..........................

                                                                                                                                                                                               $___________________



Official Form 106A/B                                                                  Schedule A/B: Property                                                                                              page 9
                                 Case 6:19-bk-07805-KJ Doc 1                                                                  Filed 11/26/19                          Page 23 of 57
 Debtor 1            Michael             John                     Baez
                     _______________________________________________________                                                                        Case number (if known)_____________________________________
                       First Name            Middle Name                   Last Name




48. Crops—either growing or harvested

     ✔ No
           Yes. Give specific
           information. ............                                                                                                                                                                    $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
     ✔ No
           Yes ..........................
                                                                                                                                                                                                        $___________________

50. Farm and fishing supplies, chemicals, and feed

     ✔ No
           Yes ..........................
                                                                                                                                                                                                        $___________________

51. Any farm- and commercial fishing-related property you did not already list
     ✔ No
           Yes. Give specific
           information. ............                                                                                                                                                                    $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
                                                                                                                                                                                                        $___________________
                                                                                                                                                                                                                             0
     for Part 6. Write that number here ....................................................................................................................................................



Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     ✔ No
                                                                                                                                                                                                         $________________
           Yes. Give specific
           information. ............                                                                                                                                                                      $________________
                                                                                                                                                                                                          $________________


54. Add the dollar value of all of your entries from Part 7. Write that number here .................................................................                                                                    0
                                                                                                                                                                                                          $________________




Part 8:            List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2 ..............................................................................................................................................................
                                                                                                                                                                                                                245,000
                                                                                                                                                                                                        $________________

56. Part 2: Total vehicles, line 5                                                                                  $________________
                                                                                                                                         4,500

57. Part 3: Total personal and household items, line 15                                                             $________________
                                                                                                                                         3,200

58. Part 4: Total financial assets, line 36
                                                                                                                                 80,956.83
                                                                                                                    $________________

59. Part 5: Total business-related property, line 45                                                                $________________
                                                                                                                                                  0

60. Part 6: Total farm- and fishing-related property, line 52                                                       $________________
                                                                                                                                                  0

61. Part 7: Total other property not listed, line 54                                                                             0
                                                                                                                + $________________
62. Total personal property. Add lines 56 through 61. ....................                                               88,653.83 Copy personal property total
                                                                                                                    $________________                                                                  + $_________________
                                                                                                                                                                                                              88,653.83


63. Total of all property on Schedule A/B. Add line 55 + line 62. .........................................................................................
                                                                                                                                                                                                              331.656.83
                                                                                                                                                                                                        $_________________



 Official Form 106A/B                                                                      Schedule A/B: Property                                                                                                page 10
                Print                                        Save As...                                                                                                                                      Reset
                                  Case 6:19-bk-07805-KJ                  Doc 1           Filed 11/26/19            Page 24 of 57

 Fill in this information to identify your case:

 Debtor 1           Michael               John                           Baez
                   __________________________________________________________________
                     First Name               Middle Name               Last Name

 Debtor 2             Sylvia                                       Baez
                     ________________________________________________________________
 (Spouse, if filing) First Name               Middle Name               Last Name


 United States Bankruptcy Court for the: __________ District of __________

 Case number         ___________________________________________                                                                                Check if this is an
  (If known)
                                                                                                                                                amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                              04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)


 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on        Current value of the        Amount of the exemption you claim        Specific laws that allow exemption
       Schedule A/B that lists this property                portion you own
                                                            Copy the value from         Check only one box for each exemption.
                                                            Schedule A/B

      Brief                                                                                                                      11 U.S.C. § 522 (b) (3)!
                                                                                                                                 ____________________________
      description:
                             _________________________
                              1110 Umbria La St. Cloud$________________
                                                       245,000                          ✔ $ ____________
                                                                                            245,000                              ____________________________
                                                                                                                                      FS 121 homestead
                                                                                           100% of fair market value, up to      ____________________________
                                                                                                                                 exemption
      Line from
                    1.1                                                                    any applicable statutory limit        ____________________________
      Schedule A/B: ______

      Brief                                                                                                                      ____________________________
                                                                                                                                 11 U.S.C. § 522 (b) (3)
      description:
                             _________________________
                              Honda Element 07              $________________
                                                             4,500                      ✔ $ ____________
                                                                                            4,500                                ____________________________
                                                                                           100% of fair market value, up to      ____________________________
      Line from     ______
      Schedule A/B: 3.1                                                                    any applicable statutory limit        ____________________________

      Brief                                                                                                                      ____________________________
                                                                                                                                 11 U.S.C. § 522 (b) (3)
      description:
                             _________________________
                              Kia Neuro 19                  $________________
                                                             0                          ✔ $ ____________
                                                                                            0                                    ____________________________
      Line from                                                                            100% of fair market value, up to      ____________________________
      Schedule A/B: ______                                                                 any applicable statutory limit        ____________________________
                    3.2

 3. Are you claiming a homestead exemption of more than $1                          ?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                  No
                  Yes



Official Form 106C                                          Schedule C: The Property You Claim as Exempt                                             page 1 of __
                                                                                                                                                               2
                           Case 6:19-bk-07805-KJ Doc 1                      Filed 11/26/19           Page 25 of 57
Debtor 1       Michael                 John Last Name Baez
              _______________________________________________________
              First Name   Middle Name
                                                                                          Case number (if known)_____________________________________




 Part 2:     Additional Page

      Brief description of the property and line    Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      on Schedule A/B that lists this property      portion you own
                                                    Copy the value from    Check only one box for each exemption
                                                    Schedule A/B

     Brief                                                                                                         Fla Con Art X Sec 4a2
                                                                                                                   ____________________________
     description:      Household Goods
                      _________________________                2,000
                                                    $________________      ✔ $ ____________
                                                                                     2,000                         ____________________________
                                                                              100% of fair market value, up to     ____________________________
     Line from     6
                   ______
                                                                              any applicable statutory limit       ____________________________
     Schedule A/B:
     Brief                                                                                                         Fla Con Art X Sec 4a2
                                                                                                                   ____________________________
     description:
                      _________________________
                       Electronics                  $________________
                                                                 600       ✔ $ ____________
                                                                                       600                         ____________________________
                                                                              100% of fair market value, up to     ____________________________
     Line from
     Schedule A/B: 7
                   ______                                                     any applicable statutory limit       ____________________________


     Brief                                                                                                         Fla Con Art X Sec 4a2
                                                                                                                   ____________________________
     description:
                       Clothing
                      _________________________                  300
                                                    $________________      ✔ $ ____________
                                                                                       300                         ____________________________
                                                                              100% of fair market value, up to     ____________________________
     Line from     11
                   ______                                                     any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                         Fla Con Art X Sec 4a2
                                                                                                                   ____________________________
     description:
                       Jewlery
                      _________________________                  300
                                                    $________________      ✔ $ ____________
                                                                                       300                         ____________________________
                   12                                                         100% of fair market value, up to     ____________________________
     Line from     ______
                                                                              any applicable statutory limit       ____________________________
     Schedule A/B:
     Brief                                                                                                         11 U.S.C. § 522 (b) (3)!
                                                                                                                   ____________________________
     description:
                       Bank of America #7353
                      _________________________             9051.00
                                                    $________________      ✔ $ ____________
                                                                                  9051.00                               FS 121
                                                                                                                   ____________________________
                                                                              100% of fair market value, up to     ____________________________
     Line from
     Schedule A/B: 17.1
                   ______                                                     any applicable statutory limit       ____________________________


     Brief                                                                                                         11 U.S.C. § 522 (b) (3)!
                                                                                                                   ____________________________
     description:
                       Bank of America #4582
                      _________________________               742.84
                                                    $________________                742.84
                                                                              $ ____________                            FS 121
                                                                                                                   ____________________________
     Line from                                                                100% of fair market value, up to     ____________________________
                   17.2
                   ______                                                     any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                         11 U.S.C. § 522 (b) (3)!
                                                                                                                   ____________________________
     description:
                       BankersLife Securities
                      _________________________            71.152.99
                                                    $________________             71,152.99
                                                                              $ ____________                            FS 121
                                                                                                                   ____________________________
     Line from                                                                100% of fair market value, up to     ____________________________
                   21
                   ______
                                                                                                                   ____________________________
     Schedule A/B:                                                            any applicable statutory limit

     Brief                                                                                                         ____________________________
                      _________________________     $________________         $ ____________
     description:                                                                                                  ____________________________
     Line from                                                                100% of fair market value, up to     ____________________________
                                                                                                                   ____________________________
     Schedule A/B: ______                                                     any applicable statutory limit


     Brief                                                                                                         ____________________________
                      _________________________     $________________         $ ____________
     description:                                                                                                  ____________________________
                                                                              100% of fair market value, up to     ____________________________
     Line from     ______                                                     any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                         ____________________________
                      _________________________     $________________         $ ____________
     description:                                                                                                  ____________________________
                                                                              100% of fair market value, up to     ____________________________
     Line from     ______
                                                                              any applicable statutory limit       ____________________________
     Schedule A/B:
     Brief                                                                                                         ____________________________
                      _________________________     $________________         $ ____________
     description:                                                                                                  ____________________________
                                                                              100% of fair market value, up to     ____________________________
     Line from
                                                                                                                   ____________________________
     Schedule A/B: ______                                                     any applicable statutory limit


     Brief                                                                                                         ____________________________
                      _________________________     $________________         $ ____________
     description:                                                                                                  ____________________________
                                                                              100% of fair market value, up to     ____________________________
     Line from     ______                                                     any applicable statutory limit       ____________________________
     Schedule A/B:


Official Form 106C                                 Schedule C: The Property You Claim as Exempt                                           2 of __
                                                                                                                                     page ___  2
           Print                      Save As...                                                                                    Reset
                                   Case 6:19-bk-07805-KJ                          Doc 1        Filed 11/26/19                 Page 26 of 57

Fill in this information to identify your case:

 Debtor 1           Michael                      John                        Baez
                    __________________________________________________________________
                     First Name                   Middle Name                  Last Name

 Debtor 2            Sylvia                                    Baez
                     ________________________________________________________________
 (Spouse, if filing) First Name                   Middle Name                  Last Name


 United States Bankruptcy Court for the: __________ District of __________

 Case number         ___________________________________________
 (If known)                                                                                                                                                  Check if this is an
                                                                                                                                                             amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


Part 1:          List All Secured Claims
                                                                                                                           Column A               Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately                    Amount of claim        Value of collateral   Unsecured
      for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                Do not deduct the      that supports this    portion
      As much as possible, list the claims in alphabetical order according to the creditor’s name.                         value of collateral.   claim                 If any

2.1                                                                                                                              44,450.00 $________________
                                                                                                                                                  308,000 $____________
                                                                                                                                                                     0
       Fidel Ferral andCynthia Ferral                      Describe the property that secures the claim:                   $_________________
      ______________________________________
      Creditor’s Name

       9405 Bordet Court                                   1110 Umberia La St Cloud FL 34771
      ______________________________________
      Number            Street

                                                           As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                                Contingent
       Orlando Fl                  32827
      ______________________________________                    Unliquidated
      City                          State   ZIP Code            Disputed
  Who owes the debt? Check one.                            Nature of lien. Check all that apply.
        Debtor 1 only                                       ✔   An agreement you made (such as mortgage or secured
        Debtor 2 only                                           car loan)
        Debtor 1 and Debtor 2 only                              Statutory lien (such as tax lien, mechanic’s lien)
        At least one of the debtors and another                 Judgment lien from a lawsuit
                                                                Other (including a right to offset) ____________________
     Check if this claim relates to a
     community debt
                           8/29/2017
  Date debt was incurred ____________                                                              0 0 0 0
                                                           Last 4 digits of account number ___ ___ ___ ___
2.2                                                                                                                              25,720.03 $________________
                                                                                                                                                    19,000 $____________
                                                                                                                                                                      0
       Orlando Kia                                         Describe the property that secures the claim:                   $_________________
      ______________________________________
      Creditor’s Name

       8701 E Colonial Dr                                  Kia Nero Car 2019
      ______________________________________
      Number            Street

                                                           As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                                Contingent
       Orlando FL                  32617
      ______________________________________                    Unliquidated
      City                          State   ZIP Code            Disputed
  Who owes the debt? Check one.                            Nature of lien. Check all that apply.
        Debtor 1 only                                       ✔   An agreement you made (such as mortgage or secured
        Debtor 2 only                                           car loan)
        Debtor 1 and Debtor 2 only                              Statutory lien (such as tax lien, mechanic’s lien)
        At least one of the debtors and another                 Judgment lien from a lawsuit
                                                                Other (including a right to offset) ____________________
     Check if this claim relates to a
     community debt
                           8/30/2019
  Date debt was incurred ____________                                                        3 ___
                                                           Last 4 digits of account number ___  0 ___
                                                                                                   7 ___
                                                                                                      5
      Add the dollar value of your entries in Column A on this page. Write that number here:                               $________________
                                                                                                                                 70,170.03

Official Form 106D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                             1
                                                                                                                                                               page 1 of ___
                                       Case 6:19-bk-07805-KJ                     Doc 1         Filed 11/26/19               Page 27 of 57
  Fill in this information to identify your case:

      Debtor 1           Michael                       John                         Baez
                        __________________________________________________________________
                          First Name                   Middle Name              Last Name

      Debtor 2            Sylvia                                          Baez
                          ________________________________________________________________
      (Spouse, if filing) First Name                   Middle Name              Last Name


      United States Bankruptcy Court for the: __________ District of __________
                                                                                                                                                           Check if this is an
      Case number         ___________________________________________
      (If known)                                                                                                                                           amended filing


 Official Form 106E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

 Part 1:               List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
              No. Go to Part 2.
              Yes.
 2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
        each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
        nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
        unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
         (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                       Total claim    Priority     Nonpriority
                                                                                                                                                      amount       amount
2.1
           ____________________________________________                Last 4 digits of account number ___ ___ ___ ___            $_____________ $___________ $____________
           Priority Creditor’s Name

           ____________________________________________                When was the debt incurred?          ____________
           Number            Street
           ____________________________________________
                                                                       As of the date you file, the claim is: Check all that apply.
           ____________________________________________                    Contingent
           City                                State    ZIP Code
                                                                           Unliquidated
           Who incurred the debt? Check one.
                                                                           Disputed
                  Debtor 1 only
                  Debtor 2 only                                        Type of PRIORITY unsecured claim:
                  Debtor 1 and Debtor 2 only
                                                                           Domestic support obligations
                  At least one of the debtors and another
                                                                           Taxes and certain other debts you owe the government
                  Check if this claim is for a community debt              Claims for death or personal injury while you were
           Is the claim subject to offset?                                 intoxicated
                  No                                                       Other. Specify _________________________________
                  Yes
2.2
           ____________________________________________                Last 4 digits of account number ___ ___ ___ ___                $_____________ $___________ $____________
           Priority Creditor’s Name
                                                                       When was the debt incurred?          ____________
           ____________________________________________
           Number            Street
           ____________________________________________                As of the date you file, the claim is: Check all that apply.
                                                                           Contingent
           ____________________________________________
           City                                State    ZIP Code           Unliquidated
           Who incurred the debt? Check one.                               Disputed
                  Debtor 1 only
                                                                       Type of PRIORITY unsecured claim:
                  Debtor 2 only
                                                                           Domestic support obligations
                  Debtor 1 and Debtor 2 only
                                                                           Taxes and certain other debts you owe the government
                  At least one of the debtors and another
                                                                           Claims for death or personal injury while you were
                  Check if this claim is for a community debt              intoxicated
           Is the claim subject to offset?                                 Other. Specify _________________________________
                  No
                  Yes


 Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                                      4
                                                                                                                                                             page 1 of ___
 Debtor 1           Michael     Case 6:19-bk-07805-KJ
                                           John                     Doc
                                                                    Baez1
                    _______________________________________________________
                                                                                       Filed 11/26/19      Page 28 of 57
                                                                                                Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Part 2:           List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
            Yes

 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.1
       Diamond Resorts International Inc/Dia Res US Collections
       _____________________________________________________________ Last 4 digits of account number ___ ___ ___ ___
       Nonpriority Creditor’s Name
                                                                                                                                                                 112,112.49
                                                                                                                                                           $__________________
                                                                                  When was the debt incurred?            9/23/19
                                                                                                                         ____________
       10600 West Charleston Blvd.
       _____________________________________________________________
       Number            Street

       Las Vegas NV 89135
       _____________________________________________________________
       City                                             State          ZIP Code   As of the date you file, the claim is: Check all that apply.

                                                                                       Contingent
       Who incurred the debt? Check one.                                               Unliquidated
              Debtor 1 only                                                            Disputed
              Debtor 2 only
              Debtor 1 and Debtor 2 only                                          Type of NONPRIORITY unsecured claim:
       ✔      At least one of the debtors and another                                  Student loans

              Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
       Is the claim subject to offset?                                                 Debts to pension or profit-sharing plans, and other similar debts
       ✔ No                                                                        ✔                   Judgment for Arbitration Award
                                                                                       Other. Specify ______________________________________
              Yes

4.2    Bank of America --Bank Americard                                                                             7 ___
                                                                                  Last 4 digits of account number ___  6 ___
                                                                                                                          1 ___
                                                                                                                             6                                       235.68
                                                                                                                                                           $__________________
       _____________________________________________________________
       Nonpriority Creditor’s Name                                                When was the debt incurred?            5/22/2018
                                                                                                                         ____________
       P.O. box 982234
       _____________________________________________________________
       Number            Street
       El Paso Tx         79998                                                   As of the date you file, the claim is: Check all that apply.
       _____________________________________________________________
       City                                             State          ZIP Code
                                                                                       Contingent
       Who incurred the debt? Check one.                                               Unliquidated
                                                                                       Disputed
              Debtor 1 only
              Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
              Debtor 1 and Debtor 2 only
       ✔ At least one of the debtors and another                                       Student loans
                                                                                       Obligations arising out of a separation agreement or divorce
              Check if this claim is for a community debt                              that you did not report as priority claims
       Is the claim subject to offset?                                                 Debts to pension or profit-sharing plans, and other similar debts

              No                                                                   ✔                   Consumer
                                                                                       Other. Specify ______________________________________

              Yes

4.3
       Americian Express
       _____________________________________________________________              Last 4 digits of account number ___
                                                                                                                    1 ___
                                                                                                                        0 ___
                                                                                                                           0 ___
                                                                                                                              0                                      464.32
       Nonpriority Creditor’s Name                                                                                                                         $_________________
                                                                                  When was the debt incurred?             5/19/2017
                                                                                                                         ____________
       P.O. Box 650448
       _____________________________________________________________
       Number            Street
       Dallas, TX 75265-0448
       _____________________________________________________________              As of the date you file, the claim is: Check all that apply.
       City                                             State          ZIP Code

                                                                                       Contingent
       Who incurred the debt? Check one.
                                                                                       Unliquidated
              Debtor 1 only
                                                                                       Disputed
              Debtor 2 only
              Debtor 1 and Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
                                                                                       Student loans
              Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
       Is the claim subject to offset?
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
              No
                                                                                   ✔                   Consumer
                                                                                       Other. Specify ______________________________________
              Yes




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                     page2__ of 4
                                                                                                                                                                             ___
 Debtor 1      Michael     Case 6:19-bk-07805-KJ
                                        JohnLast Name          Doc
                                                               Baez1
               _______________________________________________________
                                                                                  Filed 11/26/19      Page 29 of 57
                                                                                           Case number (if known)_____________________________________
               First Name   Middle Name



 Part 3:       List Others to Be Notified About a Debt That You Already Listed

 5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
     example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
     2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
     additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

      Snell & Wilmer LLP Law Offices
      _____________________________________________________             On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      3883 Howard Hughes Pkwy Suite 1100
      _____________________________________________________
                                                                             4.1 of (Check one):
                                                                        Line _____                         Part 1: Creditors with Priority Unsecured Claims
      Number       Street                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
      _____________________________________________________
                                                                        Last 4 digits of account number ___ ___ ___ ___
      Las Vegas Nevada 89169
      _____________________________________________________
      City                                  State        ZIP Code


      _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________
                                                                         Line _____ of (Check one):        Part 1: Creditors with Priority Unsecured Claims
      Number       Street                                                                                  Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________              Claims

      _____________________________________________________              Last 4 digits of account number ___ ___ ___ ___
      City                                  State        ZIP Code


      _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                         Line _____ of (Check one):        Part 1: Creditors with Priority Unsecured Claims
      _____________________________________________________
      Number       Street                                                                                  Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________
                                                                         Claims

      _____________________________________________________              Last 4 digits of account number ___ ___ ___ ___
      City                                  State        ZIP Code


      _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                         Line _____ of (Check one):        Part 1: Creditors with Priority Unsecured Claims
      _____________________________________________________
      Number       Street                                                                                  Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________
                                                                         Claims

      _____________________________________________________              Last 4 digits of account number ___ ___ ___ ___
      City                                  State        ZIP Code


      _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                         Line _____ of (Check one):        Part 1: Creditors with Priority Unsecured Claims
      _____________________________________________________
      Number       Street                                                                                  Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________
                                                                         Claims

      _____________________________________________________              Last 4 digits of account number ___ ___ ___ ___
      City                                  State        ZIP Code


      _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                         Line _____ of (Check one):        Part 1: Creditors with Priority Unsecured Claims
      _____________________________________________________
      Number       Street                                                                                  Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________
                                                                         Claims

      _____________________________________________________              Last 4 digits of account number ___ ___ ___ ___
      City                                  State        ZIP Code


      _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________              Line _____ of (Check one):        Part 1: Creditors with Priority Unsecured Claims
      Number       Street
                                                                                                           Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________              Claims

      _____________________________________________________
      City                                  State        ZIP Code
                                                                         Last 4 digits of account number ___ ___ ___ ___


Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                              page 3__ of 4
                                                                                                                                                               ___
Debtor 1     Michael     Case 6:19-bk-07805-KJ
                                      JohnLast Name          Doc
                                                             Baez1
             _______________________________________________________
                                                                               Filed 11/26/19      Page 30 of 57
                                                                                        Case number (if known)_____________________________________
             First Name   Middle Name



Part 4:     Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
    Add the amounts for each type of unsecured claim.




                                                                                       Total claim


               6a. Domestic support obligations                                6a.                             0
Total claims                                                                           $_________________________
from Part 1
               6b. Taxes and certain other debts you owe the
                   government                                                  6b.                             0
                                                                                       $_________________________

               6c. Claims for death or personal injury while you were
                   intoxicated                                                 6c.                             0
                                                                                       $_________________________

               6d. Other. Add all other priority unsecured claims.
                   Write that amount here.                                     6d.
                                                                                     + $_________________________
                                                                                                               0


               6e. Total. Add lines 6a through 6d.                             6e.
                                                                                                               0
                                                                                       $_________________________



                                                                                       Total claim

               6f. Student loans                                               6f.                             0
Total claims                                                                            $_________________________
from Part 2
               6g. Obligations arising out of a separation agreement
                   or divorce that you did not report as priority
                   claims                                                      6g.                             0
                                                                                        $_________________________

               6h. Debts to pension or profit-sharing plans, and other
                   similar debts                                               6h.                             0
                                                                                       $_________________________

               6i. Other. Add all other nonpriority unsecured claims.
                   Write that amount here.                                     6i.   + $_________________________
                                                                                                   112,812.49


               6j. Total. Add lines 6f through 6i.                             6j.
                                                                                                    112,812.49
                                                                                        $_________________________




           Print                       Save As...                                                                                  Reset

Official Form 106E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                   page 4     4
                                                                                                                                              __ of ___
                                    Case 6:19-bk-07805-KJ              Doc 1       Filed 11/26/19             Page 31 of 57

 Fill in this information to identify your case:

 Debtor               Michael                John                          Baez
                      __________________________________________________________________
                       First Name             Middle Name             Last Name

 Debtor 2              Sylvia                                          Baez
                       ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name             Last Name


 United States Bankruptcy Court for the: __________ District of ________

 Case number           ___________________________________________
  (If known)                                                                                                                                Check if this is an
                                                                                                                                            amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
           No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



      Person or company with whom you have the contract or lease                               State what the contract or lease is for


2.1
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.2
      _____________________________________________________________________
      Name
      _____________________________________________________________________
      Number     Street
      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name
      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street
      _____________________________________________________________________
      City                         State   ZIP Code


Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                           page 1 of ___
                                     Case 6:19-bk-07805-KJ                       Doc 1       Filed 11/26/19    Page 32 of 57
 Fill in this information to identify your case:

 Debtor 1          Michael                        John                           Baez
                   __________________________________________________________________
                   First Name                      Middle Name                  Last Name

 Debtor 2            Sylvia                                        Baez
                     ________________________________________________________________
 (Spouse, if filing) First Name                     Middle Name                 Last Name


 United States Bankruptcy Court for the: __________ District of ________

 Case number         ____________________________________________
  (If known)
                                                                                                                                            Check if this is an
                                                                                                                                            amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                            12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
           No
           Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                No
                Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                 ______________________________________________________________________
                 Name of your spouse, former spouse, or legal equivalent

                 ______________________________________________________________________
                 Number             Street

                 ______________________________________________________________________
                 City                                             State                     ZIP Code


 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                            Column 2: The creditor to whom you owe the debt

                                                                                                          Check all schedules that apply:
3.1
         ________________________________________________________________________________                     Schedule D, line ______
         Name
                                                                                                              Schedule E/F, line ______
         ________________________________________________________________________________
         Number            Street                                                                             Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

3.2
         ________________________________________________________________________________                     Schedule D, line ______
         Name
                                                                                                              Schedule E/F, line ______
         ________________________________________________________________________________
         Number            Street                                                                             Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

3.3
         ________________________________________________________________________________                     Schedule D, line ______
         Name
                                                                                                              Schedule E/F, line ______
         ________________________________________________________________________________
         Number            Street                                                                             Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code



Official Form 106H                                                           Schedule H: Your Codebtors                                                1
                                                                                                                                             page 1 of ___
                                  Case 6:19-bk-07805-KJ             Doc 1           Filed 11/26/19         Page 33 of 57

 Fill in this information to identify your case:


 Debtor 1           Michael               John                       Baez
                    ____________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2             Sylvia                                          Baez
                     ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


 United States Bankruptcy Court for the: __________ District of ___________

 Case number         ___________________________________________                                     Check if this is:
  (If known)
                                                                                                        An amended filing
                                                                                                        A supplement showing postpetition chapter 13
                                                                                                        income as of the following date:
                                                                                                        ________________
Official Form 106I                                                                                      MM / DD / YYYY

Schedule I: Your Income                                                                                                                           12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1. Fill in your employment
    information.                                                         Debtor 1                                     Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
    information about additional         Employment status                Employed                                         Employed
    employers.                                                            Not employed                                     Not employed
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation                 Retired
                                                                    __________________________________            Retired
                                                                                                                  __________________________________
    Occupation may include student
    or homemaker, if it applies.
                                         Employer’s name            __________________________________             __________________________________


                                         Employer’s address        _______________________________________       ________________________________________
                                                                    Number Street                                 Number    Street

                                                                   _______________________________________       ________________________________________

                                                                   _______________________________________       ________________________________________

                                                                   _______________________________________       ________________________________________
                                                                    City            State  ZIP Code                City                State ZIP Code

                                         How long employed there?         _______                                   _______

 Part 2:           Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                For Debtor 1       For Debtor 2 or
                                                                                                                   non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.         2.               0                         0
                                                                                               $___________              $____________

 3. Estimate and list monthly overtime pay.                                              3.   + $___________      +      $____________


 4. Calculate gross income. Add line 2 + line 3.                                         4.    $__________0                         0
                                                                                                                         $____________




Official Form 106I                                             Schedule I: Your Income                                                        page 1
                                    Case 6:19-bk-07805-KJ                                    Doc 1             Filed 11/26/19           Page 34 of 57
Debtor 1        Michael              John                       Baez
                _______________________________________________________                                                      Case number (if known)_____________________________________
                 First Name          Middle Name                 Last Name



                                                                                                                            For Debtor 1         For Debtor 2 or
                                                                                                                                                 non-filing spouse

   Copy line 4 here...............................................................................................   4.                 0
                                                                                                                             $___________                        0
                                                                                                                                                     $_____________

5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                               5a.    $____________            $_____________
     5b. Mandatory contributions for retirement plans                                                                5b.    $____________            $_____________
     5c. Voluntary contributions for retirement plans                                                                5c.    $____________            $_____________
     5d. Required repayments of retirement fund loans                                                                5d.    $____________            $_____________
     5e. Insurance                                                                                                   5e.    $____________            $_____________
     5f. Domestic support obligations                                                                                5f.    $____________            $_____________

     5g. Union dues                                                                                                  5g.    $____________            $_____________

     5h. Other deductions. Specify: __________________________________                                               5h.   + $____________       +   $_____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                      6.     $____________            $_____________

 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                              7.                0
                                                                                                                            $____________                        0
                                                                                                                                                     $_____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total
                                                                                                                                       0
                                                                                                                            $____________                        0
                                                                                                                                                     $_____________
           monthly net income.                                                                                       8a.
     8b. Interest and dividends                                                                                      8b.               0
                                                                                                                            $____________                        0
                                                                                                                                                     $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                       0                         0
                                                                                                                            $____________            $_____________
           settlement, and property settlement.                                                                      8c.
     8d. Unemployment compensation                                                                                   8d.               0
                                                                                                                            $____________                        0
                                                                                                                                                     $_____________
     8e. Social Security                                                                                             8e.    $____________
                                                                                                                                1,513.80             $_____________
                                                                                                                                                           708.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                              0
                                                                                                                            $____________                        0
                                                                                                                                                     $_____________

     8g. Pension or retirement income                                                                                8g.        1,624.11
                                                                                                                            $____________                  172.00
                                                                                                                                                     $_____________
                                         Pension
     8h. Other monthly income. Specify: _______________________________                                              8h.   + $____________
                                                                                                                                    63.36        + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                            9.         3,201.27
                                                                                                                            $____________                  880.00
                                                                                                                                                     $_____________

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                       10.
                                                                                                                                3,201.27
                                                                                                                            $___________     +             880.00
                                                                                                                                                     $_____________     =        4,081.00
                                                                                                                                                                            $_____________


11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                      11.   +               0
                                                                                                                                                                            $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                            12.            4,081.00
                                                                                                                                                                            $_____________
                                                                                                                                                                            Combined
                                                                                                                                                                            monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
     ✔ No.
           Yes. Explain:


Official Form 106I                                                                     Schedule I: Your Income                                                                page 2
           Print                                   Save As...                                                                                                           Reset
                                    Case 6:19-bk-07805-KJ                Doc 1        Filed 11/26/19              Page 35 of 57

   Fill in this information to identify your case:

   Debtor 1          Michael                     John                       Baez
                     __________________________________________________________________
                     First Name                Middle Name             Last Name                       Check if this is:
   Debtor 2            Sylvia                                          Baez
                       ________________________________________________________________
                                                                                                           An amended filing
   (Spouse, if filing) First Name              Middle Name             Last Name

                                                                                                           A supplement showing postpetition chapter 13
   United States Bankruptcy Court for the: __________ District of __________                               expenses as of the following date:
                                                                                                           ________________
   Case number         ___________________________________________                                         MM / DD / YYYY
    (If known)




 Official Form 106J
 Schedule J: Your Expenses                                                                                                                            12/15

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
 (if known). Answer every question.

  Part 1:            Describe Your Household

 1. Is this a joint case?

         No. Go to line 2.
         Yes. Does Debtor 2 live in a separate household?

                 ✔ No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 2. Do you have dependents?                      No                                 Dependent’s relationship to              Dependent’s   Does dependent live
    Do not list Debtor 1 and                     Yes. Fill out this information for Debtor 1 or Debtor 2                     age           with you?
    Debtor 2.                                    each dependent ..........................
                                                                                                                                                No
    Do not state the dependents’                                                    _________________________                ________
    names.                                                                                                                                      Yes

                                                                                    _________________________                ________           No
                                                                                                                                                Yes

                                                                                    _________________________                ________           No
                                                                                                                                                Yes

                                                                                    _________________________                ________           No
                                                                                                                                                Yes

                                                                                    _________________________                ________           No
                                                                                                                                                Yes

 3. Do your expenses include
                                                 No
    expenses of people other than
    yourself and your dependents?                Yes


 Part 2:         Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                          Your expenses

  4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                               2,000
                                                                                                                               $_____________________
      any rent for the ground or lot.                                                                                  4.

      If not included in line 4:
      4a.    Real estate taxes                                                                                         4a.                       250
                                                                                                                               $_____________________
      4b.    Property, homeowner’s, or renter’s insurance                                                              4b.                        51
                                                                                                                               $_____________________
      4c.    Home maintenance, repair, and upkeep expenses                                                             4c.                        95
                                                                                                                               $_____________________
      4d.    Homeowner’s association or condominium dues                                                               4d.                        90
                                                                                                                               $_____________________

Official Form 106J                                             Schedule J: Your Expenses                                                          page 1
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 Debtor 1        Michael                  John                    Baez
                 _______________________________________________________                   Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




                                                                                                                      Your expenses

                                                                                                                                         0
                                                                                                                     $_____________________
 5. Additional mortgage payments for your residence, such as home equity loans                                5.


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                    6a.                      120
                                                                                                                     $_____________________
      6b.   Water, sewer, garbage collection                                                                  6b.                      150
                                                                                                                     $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.                      180
                                                                                                                     $_____________________
      6d.                   Security Vivnet
            Other. Specify: _______________________________________________                                   6d.                       49
                                                                                                                     $_____________________

 7. Food and housekeeping supplies                                                                            7.                       350
                                                                                                                     $_____________________

 8. Childcare and children’s education costs                                                                  8.                         0
                                                                                                                     $_____________________
 9. Clothing, laundry, and dry cleaning                                                                       9.                        10
                                                                                                                     $_____________________
10. Personal care products and services                                                                       10.                       20
                                                                                                                     $_____________________
11. Medical and dental expenses                                                                               11.                      300
                                                                                                                     $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                                        50
                                                                                                                     $_____________________
      Do not include car payments.                                                                            12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.                       50
                                                                                                                     $_____________________
14.   Charitable contributions and religious donations                                                        14.                      125
                                                                                                                     $_____________________

15. Insurance.                                                                                                                                      1

      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                     15a.                      20
                                                                                                                     $_____________________
      15b. Health insurance                                                                                   15b.                     200
                                                                                                                     $_____________________
      15c. Vehicle insurance                                                                                  15c.                     150
                                                                                                                     $_____________________
      15d. Other insurance. Specify:_______________________________________                                   15d.   $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: ________________________________________________________                                       16.
                                                                                                                                        83
                                                                                                                     $_____________________

17. Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                         17a.                     408
                                                                                                                     $_____________________

      17b. Car payments for Vehicle 2                                                                         17b.                       0
                                                                                                                     $_____________________

      17c. Other. Specify:_______________________________________________                                     17c.   $_____________________

      17d. Other. Specify:_______________________________________________                                     17d.   $_____________________

18. Your payments of alimony, maintenance, and support that you did not report as deducted from
      your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.                       0
                                                                                                                     $_____________________

19. Other payments you make to support others who do not live with you.

      Specify:_______________________________________________________                                          19.                       0
                                                                                                                     $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                        20a.                       0
                                                                                                                     $_____________________

      20b. Real estate taxes                                                                                  20b.                       0
                                                                                                                     $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                       20c.                       0
                                                                                                                     $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                           20d.                       0
                                                                                                                     $_____________________

      20e. Homeowner’s association or condominium dues                                                        20e.                       0
                                                                                                                     $_____________________



Official Form 106J                                             Schedule J: Your Expenses                                                   page 2
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 Debtor 1       Michael                  John                    Baez
                _______________________________________________________
                First Name   Middle Name      Last Name
                                                                                                Case number (if known)_____________________________________




21.    Other. Specify: _________________________________________________                                           21.   +$_____________________
                                                                                                                                              0

22.    Calculate your monthly expenses.

       22a. Add lines 4 through 21.                                                                              22a.                      4751
                                                                                                                          $_____________________

       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                      22b.                          0
                                                                                                                          $_____________________

       22c. Add line 22a and 22b. The result is your monthly expenses.                                           22c.                      4751
                                                                                                                          $_____________________



23. Calculate your monthly net income.
                                                                                                                                           4081
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.   – $_____________________
                                                                                                                                           4751

      23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                                           -670
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
         Yes.      Explain here:




Official Form 106J                                          Schedule J: Your Expenses                                                           page 3

             Print                       Save As...                                                                                       Reset
                                        Case 6:19-bk-07805-KJ             Doc 1         Filed 11/26/19                Page 38 of 57

Fill in this information to identify your case:

Debtor 1          Michael                 John                  Baez
                  __________________________________________________________________
                    First Name                Middle Name           Last Name

Debtor 2            Sylvia                                       Baez
                    ________________________________________________________________
(Spouse, if filing) First Name                Middle Name           Last Name


United States Bankruptcy Court for the: __________ District of __________

Case number         ___________________________________________
(If known)
                                                                                                                                             Check if this is an
                                                                                                                                             amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor’s Schedules                                                                                                   12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




                    Sign Below



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

             No
             Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                               Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




          ______________________________________________               _____________________________
         Signature of Debtor 1                                         Signature of Debtor 2


         Date 11/05/2019
              _________________                                             11/05/2019
                                                                       Date _________________
                MM /    DD       /   YYYY                                       MM / DD /   YYYY




  Official Form 106Dec                                      Declaration About an Individual Debtor’s Schedules

                Print                         Save As...                                                                                      Reset
                                    Case 6:19-bk-07805-KJ                 Doc 1       Filed 11/26/19         Page 39 of 57

   Fill in this information to identify your case:

   Debtor 1          Michael                                          Baez
                     __________________________________________________________________
                       First Name             Middle Name                Last Name

   Debtor 2           Sylvia                                          Baez
                      ________________________________________________________________
   (Spouse, if filing) First Name             Middle Name                Last Name


   United States Bankruptcy Court for the: __________ District of ______________

   Case number         ___________________________________________
    (If known)                                                                                                                         Check if this is an
                                                                                                                                       amended filing




 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                 04/19

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
 number (if known). Answer every question.


   Part 1:         Give Details About Your Marital Status and Where You Lived Before


   1. What is your current marital status?


             Married
             Not married


   2. During the last 3 years, have you lived anywhere other than where you live now?

             No
             Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

                 Debtor 1:                                        Dates Debtor 1      Debtor 2:                                         Dates Debtor 2
                                                                  lived there                                                           lived there

                                                                                         Same as Debtor 1                                  Same as Debtor 1

                 __________________________________________       From     ________      ___________________________________________       From ________
                  Number    Street                                                       Number Street
                                                                  To       ________                                                        To      ________
                 __________________________________________                              ___________________________________________

                 __________________________________________                              ___________________________________________
                 City                    State ZIP Code                                  City                    State ZIP Code


                                                                                         Same as Debtor 1                                  Same as Debtor 1

                 __________________________________________       From     ________      ___________________________________________       From ________
                  Number    Street                                                       Number Street
                                                                  To       ________                                                        To      ________
                 __________________________________________                              ___________________________________________

                 __________________________________________                              ___________________________________________
                 City                    State ZIP Code                                  City                    State   ZIP Code


   3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
       states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
             No
             Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).



   Part 2: Explain the Sources of Your Income

Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                          page 1
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Debtor 1        Michael                                         Baez
                 _______________________________________________________                                 Case number (if known)_____________________________________
                 First Name     Middle Name          Last Name




 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

     ✔ No
           Yes. Fill in the details.

                                                           Debtor 1                                               Debtor 2

                                                           Sources of income             Gross income             Sources of income          Gross income
                                                           Check all that apply.         (before deductions and   Check all that apply.      (before deductions and
                                                                                         exclusions)                                         exclusions)

                                                                 Wages, commissions,                                  Wages, commissions,
            From January 1 of current year until                                         $________________                                   $________________
                                                                 bonuses, tips                                        bonuses, tips
            the date you filed for bankruptcy:
                                                                 Operating a business                                 Operating a business


                                                                 Wages, commissions,                                  Wages, commissions,
            For last calendar year:
                                                                 bonuses, tips           $________________            bonuses, tips          $________________
            (January 1 to December 31,2018
                                       _________)                Operating a business                                 Operating a business
                                              YYYY


                                                                 Wages, commissions,                                  Wages, commissions,
            For the calendar year before that:
                                                                 bonuses, tips                                        bonuses, tips
                                                                                         $________________                                   $________________
            (January 1 to December 31,2017
                                      _________)                 Operating a business                                 Operating a business
                                              YYYY



 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
     unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
     gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.
                                                            Debtor 1                                               Debtor 2

                                                            Sources of income            Gross income from         Sources of income         Gross income from
                                                            Describe below.              each source               Describe below.           each source
                                                                                         (before deductions and                              (before deductions and
                                                                                         exclusions)                                         exclusions)


                                                 __________________                               15,130. _____________________
            From January 1 of current year until Retirement                             $_________________ Retirement                       1,720.
                                                                                                                                 $_________________
            the date you filed for bankruptcy:   __________________
                                                 Soc  Security                                    16,240. _____________________
                                                                                        $_________________ Soc Security                     7,080.
                                                                                                                                 $_________________
                                                          __________________            $_________________ _____________________ $_________________


            For last calendar year:
                                                          Retirement
                                                          __________________                       18,156 _____________________
                                                                                        $_________________ Retirement                       2,064
                                                                                                                                $_________________
            (January 1 to December 31,2018
                                       ______)
                                                          Soc Sec
                                                          __________________                       19,488 _____________________
                                                                                        $_________________ Soc Sec                          8,496
                                                                                                                                $_________________
                                              YYYY
                                                          __________________            $_________________ _____________________ $_________________



            For the calendar year before that:            Retirement
                                                          __________________                       18,156 _____________________
                                                                                        $_________________ Retirement                      2,064.
                                                                                                                                $_________________
            (January 1 to December 31,2017
                                       ______)            Soc Sec
                                                          __________________                       19,488 _____________________
                                                                                        $_________________ Soc Sec.                        8,496.
                                                                                                                                $_________________
                                              YYYY
                                                          __________________            $_________________ _____________________ $_________________




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 2
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Debtor 1      Michael                                          Baez
               _______________________________________________________                             Case number (if known)_____________________________________
               First Name       Middle Name           Last Name




 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               “incurred by an individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

                    No. Go to line 7.

                    Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
                         total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                         child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                    No. Go to line 7.

                    Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                      Dates of      Total amount paid        Amount you still owe       Was this payment for
                                                                      payment


                     Fidel Ferral andCynthia Ferral94057/27/19
                     ____________________________________ _________                             6,000. $__________________
                                                                                    $_________________         44,450.95                ✔ Mortgage
                      Creditor’s Name
                                                                                                                                           Car
                     9405  Bordet Ct
                     ____________________________________ 8/30/19
                                                           _________
                      Number    Street                                                                                                     Credit card

                                                                                                                                           Loan repayment
                      ____________________________________           9/19/19
                                                                      _________
                                                                                                                                           Suppliers or vendors
                     Orlando  FL              32827
                     ____________________________________
                      City                    State       ZIP Code                                                                         Other ____________



                     Orlando  Kia
                     ____________________________________ 10/3/19
                                                           _________                          12.500. $__________________
                                                                                    $_________________        25,720.00                    Mortgage
                      Creditor’s Name
                                                                                                                                        ✔ Car
                     8701   E Colonial Dr
                      ____________________________________ 10/18/19
                                                            _________
                      Number    Street
                                                                                                                                           Credit card

                                                                                                                                           Loan repayment
                      ____________________________________           _________
                                                                                                                                           Suppliers or vendors
                     Orlando  FL              32617
                     ____________________________________                                                                                  Other ____________
                      City                    State       ZIP Code




                      ____________________________________           _________      $_________________ $__________________                 Mortgage
                      Creditor’s Name
                                                                                                                                           Car
                      ____________________________________           _________                                                             Credit card
                      Number    Street

                                                                                                                                           Loan repayment
                      ____________________________________           _________
                                                                                                                                           Suppliers or vendors
                      ____________________________________                                                                                 Other ____________
                      City                    State       ZIP Code




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 3
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Debtor 1        Michael                                         Baez
                 _______________________________________________________                             Case number (if known)_____________________________________
                   First Name      Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

           No
           Yes. List all payments to an insider.
                                                                        Dates of      Total amount     Amount you still    Reason for this payment
                                                                        payment       paid             owe


            Fidel Ferral and Cinthia Ferral                           7/27/19               6,000 $____________
                                                                                                     44,450.95            Daughter and Son-in-Law are
            ____________________________________________              _________      $____________
            Insider’s Name                                                                                                Mortgage Holder
            9405 Bordet Court
            ____________________________________________              8/30/19
                                                                      _________
            Number        Street


            ____________________________________________              9/19/19
                                                                      _________

            Orlando FL                       32827
            ____________________________________________
            City                                 State   ZIP Code



                                                                                     $____________ $____________
            ____________________________________________              _________
            Insider’s Name

            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     ✔ No
           Yes. List all payments that benefited an insider.
                                                                       Dates of       Total amount     Amount you still    Reason for this payment
                                                                       payment        paid             owe
                                                                                                                           Include creditor’s name

            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code



                                                                                     $____________ $____________
            ____________________________________________              _________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 4
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Debtor 1        Michael                                          Baez
                 _______________________________________________________                                        Case number (if known)_____________________________________
                 First Name            Middle Name            Last Name




  Part 4:       Identify Legal Actions, Repossessions, and Foreclosures
 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

           No
           Yes. Fill in the details.
                                                                     Nature of the case                   Court or agency                                Status of the case

                                                                   Arbitration arising from   US District Court of Nevada
                                                                                              ________________________________________                       Pending
            Case title_____________________________                Timeshare Dispute, with    Court Name
                                                                   Diamond Resorts                                                                           On appeal
            Petition to Confirm Arbitration
            ____________________________________                   International Inc,and      333. Las vegas Blvd South
                                                                                              ________________________________________
                                                                                              Number Street                                                  Concluded
                                                                   Diamond Resorts U.S.
            Case number       2:19-cv-01662
                              ________________________                                        Las Vegas NV                  89101
                                                                   Collection Development LLC ________________________________________
                                                                                                         City                   State   ZIP Code



                                                                                                         ________________________________________            Pending
            Case title_____________________________                                                      Court Name
                                                                                                                                                             On appeal
            ____________________________________                                                         ________________________________________
                                                                                                         Number    Street                                    Concluded

            Case number ________________________                                                         ________________________________________
                                                                                                         City                   State   ZIP Code



 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.

                                                                               Describe the property                                     Date         Value of the property



                 _________________________________________                                                                               __________    $______________
                 Creditor’s Name


                 _________________________________________
                 Number       Street                                           Explain what happened

                                                                                    Property was repossessed.
                 _________________________________________
                                                                                    Property was foreclosed.
                                                                                    Property was garnished.
                 _________________________________________
                 City                                State   ZIP Code               Property was attached, seized, or levied.

                                                                               Describe the property                                     Date           Value of the property



                                                                                                                                        __________     $______________
                 _________________________________________
                 Creditor’s Name


                 _________________________________________
                 Number       Street
                                                                               Explain what happened

                 _________________________________________                          Property was repossessed.
                                                                                    Property was foreclosed.
                 _________________________________________                          Property was garnished.
                 City                                State   ZIP Code
                                                                                    Property was attached, seized, or levied.



Official Form 107                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 5
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Debtor 1          Michael                                         Baez
                   _______________________________________________________                               Case number (if known)_____________________________________
                   First Name    Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     ✔ No
           Yes. Fill in the details.

                                                                 Describe the action the creditor took                         Date action      Amount
                                                                                                                               was taken
           ______________________________________
           Creditor’s Name


           ______________________________________                                                                             ____________ $________________
           Number      Street


           ______________________________________

           ______________________________________
           City                           State   ZIP Code       Last 4 digits of account number: XXXX–___ ___ ___ ___


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     ✔ No
           Yes

 Part 5:          List Certain Gifts and Contributions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

     ✔ No
           Yes. Fill in the details for each gift.


            Gifts with a total value of more than $600           Describe the gifts                                            Dates you gave       Value
            per person                                                                                                         the gifts



           ______________________________________                                                                              _________          $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________          $_____________

           ______________________________________
           Number      Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you    ______________


           Gifts with a total value of more than $600            Describe the gifts                                            Dates you gave      Value
           per person                                                                                                          the gifts


           ______________________________________                                                                              _________          $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________          $_____________


           ______________________________________
           Number      Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you ______________


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 6
                                  Case 6:19-bk-07805-KJ                           Doc 1         Filed 11/26/19              Page 45 of 57

Debtor 1          Michael                                         Baez
                   _______________________________________________________                                     Case number (if known)_____________________________________
                   First Name     Middle Name              Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

           No
           Yes. Fill in the details for each gift or contribution.

            Gifts or contributions to charities                   Describe what you contributed                                         Date you          Value
            that total more than $600                                                                                                   contributed



           _____________________________________                                                                                        _________         $_____________
           Charity’s Name


           _____________________________________                                                                                        _________         $_____________


           _____________________________________
           Number      Street



           _____________________________________
           City           State    ZIP Code




 Part 6:           List Certain Losses


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
     disaster, or gambling?

           No
           Yes. Fill in the details.

            Describe the property you lost and                     Describe any insurance coverage for the loss                         Date of your      Value of property
            how the loss occurred                                                                                                       loss              lost
                                                                   Include the amount that insurance has paid. List pending insurance
                                                                   claims on line 33 of Schedule A/B: Property.


                                                                                                                                        _________         $_____________




 Part 7:          List Certain Payments or Transfers

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
     you consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.

                                                                   Description and value of any property transferred                    Date payment or   Amount of payment
                                                                                                                                        transfer was
            ___________________________________
            Person Who Was Paid                                                                                                         made

            ___________________________________
            Number       Street                                                                                                         _________         $_____________

            ___________________________________
                                                                                                                                        _________         $_____________
            ___________________________________
            City                       State    ZIP Code


            ____________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You



Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 7
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Debtor 1        Michael                                          Baez
                 _______________________________________________________                                     Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                    Description and value of any property transferred               Date payment or        Amount of
                                                                                                                                    transfer was made      payment

            ____________________________________
            Person Who Was Paid
                                                                                                                                    _________             $_____________
            ____________________________________
            Number       Street

                                                                                                                                    _________             $_____________
            ____________________________________

            ____________________________________
            City                        State    ZIP Code



            ________________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.

                                                                    Description and value of any property transferred               Date payment or       Amount of payment
                                                                                                                                    transfer was
            ____________________________________                                                                                    made
            Person Who Was Paid

            ____________________________________                                                                                    _________             $____________
            Number        Street

            ____________________________________
                                                                                                                                    _________             $____________
            ____________________________________
            City                        State    ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
           No
           Yes. Fill in the details.
                                                                    Description and value of property        Describe any property or payments received      Date transfer
                                                                    transferred                              or debts paid in exchange                       was made
            ___________________________________
            Person Who Received Transfer

            ___________________________________                                                                                                              _________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code


            Person’s relationship to you _____________

            ___________________________________
            Person Who Received Transfer
                                                                                                                                                             _________
            ___________________________________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code

            Person’s relationship to you _____________

Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 8
                                  Case 6:19-bk-07805-KJ                             Doc 1       Filed 11/26/19            Page 47 of 57

Debtor 1        Michael                                         Baez
                 _______________________________________________________                                     Case number (if known)_____________________________________
                   First Name     Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

           No
           Yes. Fill in the details.

                                                                   Description and value of the property transferred                                       Date transfer
                                                                                                                                                           was made


                                                                                                                                                           _________
           Name of trust __________________________


           ______________________________________




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
           No
           Yes. Fill in the details.

                                                                   Last 4 digits of account number     Type of account or        Date account was       Last balance before
                                                                                                       instrument                closed, sold, moved,   closing or transfer
                                                                                                                                 or transferred
            ____________________________________
            Name of Financial Institution
                                                                   XXXX–___ ___ ___ ___                    Checking              _________              $___________
            ____________________________________
            Number       Street
                                                                                                           Savings

            ____________________________________                                                           Money market

                                                                                                           Brokerage
            ____________________________________
            City                       State    ZIP Code
                                                                                                           Other__________



            ____________________________________                   XXXX–___ ___ ___ ___                    Checking              _________              $___________
            Name of Financial Institution
                                                                                                           Savings
            ____________________________________
            Number       Street                                                                            Money market

            ____________________________________                                                           Brokerage

            ____________________________________                                                           Other__________
            City                       State    ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
     ✔ No
           Yes. Fill in the details.
                                                                   Who else had access to it?                      Describe the contents                       Do you still
                                                                                                                                                               have it?

                                                                                                                                                                   No
            ____________________________________                  _______________________________________
            Name of Financial Institution                         Name
                                                                                                                                                                   Yes

            ____________________________________                  _______________________________________
            Number       Street                                   Number   Street

            ____________________________________
                                                                  _______________________________________
                                                                  City       State      ZIP Code
            ____________________________________
            City                       State    ZIP Code



Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 9
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Debtor 1       Michael                                         Baez
                _______________________________________________________                                                 Case number (if known)_____________________________________
                    First Name     Middle Name               Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
    ✔ No
           Yes. Fill in the details.
                                                                    Who else has or had access to it?                        Describe the contents                       Do you still
                                                                                                                                                                         have it?


             ___________________________________                    _______________________________________                                                                  No
             Name of Storage Facility                               Name
                                                                                                                                                                             Yes
             ___________________________________                    _______________________________________
             Number       Street                                    Number    Street

             ___________________________________                    _______________________________________
                                                                    City State ZIP Code
             ___________________________________
             City                        State    ZIP Code



 Part 9:              Identify Property You Hold or Control for Someone Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
     ✔ No
           Yes. Fill in the details.
                                                                   Where is the property?                                    Describe the property                   Value


             ___________________________________
             Owner’s Name                                                                                                                                            $__________
                                                                  _________________________________________
             ___________________________________                  Number     Street
             Number       Street
                                                                  _________________________________________
             ___________________________________
                                                                  _________________________________________
             ___________________________________                  City                             State     ZIP Code
             City                        State    ZIP Code


 Part 10:             Give Details About Environmental Information

 For the purpose of Part 10, the following definitions apply:
     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
     utilize it or used to own, operate, or utilize it, including disposal sites.

     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

     ✔ No
           Yes. Fill in the details.
                                                                    Governmental unit                            Environmental law, if you know it                  Date of notice



            ____________________________________                   _______________________________                                                                   _________
            Name of site                                           Governmental unit

            ____________________________________                   _______________________________
            Number       Street                                    Number    Street

                                                                   _______________________________
            ____________________________________                   City                   State   ZIP Code


            ____________________________________
            City                        State    ZIP Code




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                               page 10
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Debtor 1      Michael                                         Baez
               _______________________________________________________                                                 Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     ✔ No
           Yes. Fill in the details.
                                                                   Governmental unit                               Environmental law, if you know it                   Date of notice


            ____________________________________ _______________________________
            Name of site                                          Governmental unit
                                                                                                                                                                        _________

            ____________________________________ _______________________________
            Number       Street                                   Number     Street


            ____________________________________ _______________________________
                                                                  City                  State    ZIP Code

            ____________________________________
            City                        State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     ✔ No
           Yes. Fill in the details.
                                                                                                                                                                        Status of the
                                                                    Court or agency                                     Nature of the case
                                                                                                                                                                        case

           Case title______________________________
                                                                    ________________________________                                                                        Pending
                                                                    Court Name
                                                                                                                                                                            On appeal
           ______________________________________                   ________________________________
                                                                    Number     Street                                                                                       Concluded

           ______________________________________
                                                                    ________________________________
           Case number                                              City                        State   ZIP Code



 Part 11:            Give Details About Your Business or Connections to Any Business
 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
               A member of a limited liability company (LLC) or limited liability partnership (LLP)
               A partner in a partnership
               An officer, director, or managing executive of a corporation
               An owner of at least 5% of the voting or equity securities of a corporation

     ✔ No. None of the above applies. Go to Part 12.
           Yes. Check all that apply above and fill in the details below for each business.
                                                                    Describe the nature of the business                               Employer Identification number
            ____________________________________                                                                                      Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                      EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                    Name of accountant or bookkeeper                                  Dates business existed
            ____________________________________

                                                                                                                                      From      _______ To _______
            ____________________________________
            City                        State    ZIP Code

                                                                    Describe the nature of the business                               Employer Identification number
            ____________________________________                                                                                      Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                      EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                    Name of accountant or bookkeeper                                  Dates business existed
            ____________________________________

            ____________________________________
                                                                                                                                      From      _______ To _______
            City                        State    ZIP Code


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                   page 11
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Debtor 1      Michael                                         Baez
               _______________________________________________________                                      Case number (if known)_____________________________________
                   First Name      Middle Name           Last Name




                                                                                                                          Employer Identification number
                                                                 Describe the nature of the business
                                                                                                                          Do not include Social Security number or ITIN.
            ____________________________________
            Business Name
                                                                                                                          EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            ____________________________________
            Number        Street
                                                                 Name of accountant or bookkeeper                         Dates business existed

            ____________________________________

            ____________________________________                                                                          From     _______ To _______
            City                        State     ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     ✔ No
           Yes. Fill in the details below.

                                                                 Date issued



            ____________________________________                 ____________
            Name                                                 MM / DD / YYYY


            ____________________________________
            Number        Street


            ____________________________________

            ____________________________________
            City                        State     ZIP Code




 Part 12:          Sign Below


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.



            ______________________________________________                         _____________________________
            Signature of Debtor 1                                                  Signature of Debtor 2


            Date 11/05/2019
                 ________________                                                       11/05/2019
                                                                                   Date _________________

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

       ✔     No
             Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
       ✔ No
            Yes. Name of person_____________________________________________________________. Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                              Declaration, and Signature (Official Form 119).




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 12


           Print                                 Save As...                                                                                             Reset
                                  Case 6:19-bk-07805-KJ                      Doc 1    Filed 11/26/19            Page 51 of 57

Fill in this information to identify your case:

Debtor 1          Michael                John                Baez
                  __________________________________________________________________
                    First Name              Middle Name                Last Name

Debtor 2            Sylvia                                Baez
                    ________________________________________________________________
(Spouse, if filing) First Name              Middle Name                Last Name


United States Bankruptcy Court for the: __________ District of __________

Case number         ___________________________________________                                                                               Check if this is an
 (If known)                                                                                                                                   amended filing



  Official Form 108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                                         12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
      creditors have claims secured by your property, or
      you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

    Part 1:          List Your Creditors Who Have Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.

           Identify the creditor and the property that is collateral               What do you intend to do with the property that   Did you claim the property
                                                                                   secures a debt?                                   as exempt on Schedule C?

          Creditor’s                                                                 Surrender the property.                            No
          name:           Orlando Kia
                                                                                     Retain the property and redeem it.                 Yes
         Description of Kia      Neuro2019 Car
         property                                                                    Retain the property and enter into a
         securing debt:                                                              Reaffirmation Agreement.
                                                                                     Retain the property and [explain]: __________
                                                                                     ______________________________________


         Creditor’s                                                                  Surrender the property.                            No
         name:            Fidel Ferral andCynthia Ferral
                                                                                     Retain the property and redeem it.                 Yes
         Description of Homestead        Mortgage
         property                                                                    Retain the property and enter into a
         securing debt:                                                              Reaffirmation Agreement.
                                                                                     Retain the property and [explain]: __________
                                                                                     ______________________________________

         Creditor’s                                                                  Surrender the property.                            No
         name:
                                                                                     Retain the property and redeem it.                 Yes
         Description of
         property                                                                    Retain the property and enter into a
         securing debt:                                                              Reaffirmation Agreement.
                                                                                     Retain the property and [explain]: __________
                                                                                     ______________________________________

         Creditor’s                                                                  Surrender the property.                            No
         name:
                                                                                     Retain the property and redeem it.                 Yes
         Description of
         property                                                                    Retain the property and enter into a
         securing debt:                                                              Reaffirmation Agreement.
                                                                                     Retain the property and [explain]: __________
                                                                                     ______________________________________


  Official Form 108                           Statement of Intention for Individuals Filing Under Chapter 7                                   page 1
                                    Case 6:19-bk-07805-KJ                      Doc 1        Filed 11/26/19         Page 52 of 57
 Debtor 1           Michael               John             Baez
                    ______________________________________________________                              Case number (If known)_____________________________________
                    First Name          Middle Name         Last Name




   Part 2:          List Your Unexpired Personal Property Leases

   For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
   fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
   ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

        Describe your unexpired personal property leases                                                                        Will the lease be assumed?

       Lessor’s name:                                                                                                              No
                                                                                                                                   Yes
       Description of leased
       property:


       Lessor’s name:                                                                                                              No
                                                                                                                                   Yes
       Description of leased
       property:


       Lessor’s name:                                                                                                              No

       Description of leased                                                                                                       Yes
       property:


       Lessor’s name:                                                                                                              No
                                                                                                                                   Yes
       Description of leased
       property:


       Lessor’s name:                                                                                                              No
                                                                                                                                   Yes
       Description of leased
       property:


       Lessor’s name:                                                                                                             No
                                                                                                                                  Yes
       Description of leased
       property:


       Lessor’s name:                                                                                                             No
                                                                                                                                  Yes
       Description of leased
       property:




  Part 3:           Sign Below



     Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
     personal property that is subject to an unexpired lease.



       ___________________________________________                          ___________________________________________
       Signature of Debtor 1                                                 Signature of Debtor 2

       Date 11/05/2019
            _________________                                                     11/05/2019
                                                                             Date _________________
             MM /     DD     /   YYYY                                             MM /   DD /   YYYY




Official Form 108                                         Statement of Intention for Individuals Filing Under Chapter 7                          page 2
            Print                                     Save As...                                                                                 Reset
                                  Case 6:19-bk-07805-KJ                           Doc 1      Filed 11/26/19          Page 53 of 57
 Fill in this information to identify your case:                                                              Check one box only as directed in this form and in
                                                                                                              Form 122A-1Supp:
 Debtor 1         Michael                 John                  Baez
                  __________________________________________________________________
                   First Name             Middle Name           Last Name
                                                                                                                 1. There is no presumption of abuse.
 Debtor 2           Sylvia                                       Baez
                    ________________________________________________________________
 (Spouse, if filing) First Name              Middle Name                       Last Name                         2. The calculation to determine if a presumption of
                                                                                                                    abuse applies will be made under Chapter 7
 United States Bankruptcy Court for the: ____________      District of _______________
                                                                                                                    Means Test Calculation (Official Form 122A–2).
 Case number        ___________________________________________                                                  3. The Means Test does not apply now because of
 (If known)
                                                                                                                    qualified military service but it could apply later.


                                                                                                                 Check if this is an amended filing


Official Form 122A─1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                    10/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

   Part 1:         Calculate Your Current Monthly Income

   1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
              Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
              Married and your spouse is NOT filing with you. You and your spouse are:
                    Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                    Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                    under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                    spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
        bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
        August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
        Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
        income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                               Column A             Column B
                                                                                                               Debtor 1             Debtor 2 or
                                                                                                                                    non-filing spouse
   2. Your gross wages, salary, tips, bonuses, overtime, and commissions
      (before all payroll deductions).                                                                          $_________ 0          $__________0

   3. Alimony and maintenance payments. Do not include payments from a spouse if
      Column B is filled in.                                                                                    $_________ 0          $__________0

   4. All amounts from any source which are regularly paid for household expenses
      of you or your dependents, including child support. Include regular contributions
      from an unmarried partner, members of your household, your dependents, parents,
      and roommates. Include regular contributions from a spouse only if Column B is not
      filled in. Do not include payments you listed on line 3.                                                  $_________ 0          $__________0

   5. Net income from operating a business, profession,
                                                                               Debtor 1     Debtor 2
      or farm
      Gross receipts (before all deductions)                                      $______   $______
        Ordinary and necessary operating expenses                             – $______ – $______
                                                                                                       Copy
        Net monthly income from a business, profession, or farm                    0
                                                                                  $______     0
                                                                                            $______ here         0
                                                                                                                $_________            $__________
                                                                                                                                       0
   6. Net income from rental and other real property                           Debtor 1     Debtor 2
      Gross receipts (before all deductions)                                      $______   $______
        Ordinary and necessary operating expenses                             – $______ – $______
                                                                                                       Copy
        Net monthly income from rental or other real property                                                   $_________            $__________
                                                                                   0
                                                                                  $______     0
                                                                                            $______ here         0                     0
  7. Interest, dividends, and royalties                                                                         $_________            $__________



Official Form 122A-1                           Chapter 7 Statement of Your Current Monthly Income                                                            page 1
                                          Case 6:19-bk-07805-KJ                                          Doc 1      Filed 11/26/19           Page 54 of 57

Debtor 1           Michael                  JohnLast Name        Baez
                   _______________________________________________________
                   First Name   Middle Name
                                                                                                                             Case number (if known)_____________________________________



                                                                                                                                   Column A                    Column B
                                                                                                                                   Debtor 1                    Debtor 2 or
                                                                                                                                                               non-filing spouse

   8. Unemployment compensation                                                                                                      $__________0                            0
                                                                                                                                                                  $___________
       Do not enter the amount if you contend that the amount received was a benefit
       under the Social Security Act. Instead, list it here: ................................
            For you ..................................................................................   $______________
            For your spouse ..................................................................           $______________
   9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence, do
      not include any compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If you received any retired
      pay paid under chapter 61 of title 10, then include that pay only to the extent that it
      does not exceed the amount of retired pay to which you would otherwise be entitled if
      retired under any provision of title 10 other than chapter 61 of that title.                                                       1624.11
                                                                                                                                     $__________                          708.
                                                                                                                                                                  $___________
   10. Income from all other sources not listed above. Specify the source and amount.
       Do not include any benefits received under the Social Security Act; payments received
       as a victim of a war crime, a crime against humanity, or international or domestic
       terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
       States Government in connection with a disability, combat-related injury or disability, or
       death of a member of the uniformed services. If necessary, list other sources on a
       separate page and put the total below.
           ______________________________________                                                                                    $_________                   $___________
           ______________________________________                                                                                    $_________                   $___________
           Total amounts from separate pages, if any.                                                                            + $_________                  + $___________
   11. Calculate your total current monthly income. Add lines 2 through 10 for each
       column. Then add the total for Column A to the total for Column B.                                                                1624.11
                                                                                                                                     $_________
                                                                                                                                                           +              708.
                                                                                                                                                                  $___________
                                                                                                                                                                                        =   $__________
                                                                                                                                                                                            Total current
                                                                                                                                                                                            monthly income

   Part 2:           Determine Whether the Means Test Applies to You

   12. Calculate your current monthly income for the year. Follow these steps:
       12a.       Copy your total current monthly income from line 11. ..................................................................................... Copy line 11 here          $__________

                  Multiply by 12 (the number of months in a year).                                                                                                                      x 12
       12b.       The result is your annual income for this part of the form.                                                                                                    12b.   $__________

   13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.

       Fill in the number of people in your household.

       Fill in the median family income for your state and size of household. ................................................................................................. 13.     $__________
       To find a list of applicable median income amounts, go online using the link specified in the separate
       instructions for this form. This list may also be available at the bankruptcy clerk’s office.


   14. How do the lines compare?


       14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                      Go to Part 3.



       14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A–2.




Official Form 122A-1                                                 Chapter 7 Statement of Your Current Monthly Income                                                                     page 2
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Debtor 1     Michael                  JohnLast Name        Baez
             _______________________________________________________
             First Name   Middle Name
                                                                                                Case number (if known)_____________________________________



   Part 3:     Sign Below

              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


                   __________________________________________________________                  ______________________________________
                   Signature of Debtor 1                                                       Signature of Debtor 2

                        11/05/2019
                   Date _________________                                                           11/05/2019
                                                                                               Date _________________
                        MM / DD / YYYY                                                              MM / DD / YYYY


                   If you checked line 14a, do NOT fill out or file Form 122A–2.
                   If you checked line 14b, fill out Form 122A–2 and file it with this form.
¯¯¯¯¯




           Print                           Save As...                                                                                       Reset




Official Form 122A-1                         Chapter 7 Statement of Your Current Monthly Income                                                 page 3
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B2030 (Form 2030) (12/15)




                                      United States Bankruptcy Court
                                                      MIDDLE
                                        _______________ District Of _______________
                                                      FLORIDA
            Michael John
In re
            Baez
            and                                                                                 Case No. ___________________
            Sylvia Baez
Debtor                                                                                          Chapter 7
                                                                                                        ____________________

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above
     named debtor(s) and that compensation paid to me within one year before the filing of the petition in
     bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in
     contemplation of or in connection with the bankruptcy case is as follows:
                                                                                                            1,500.
     For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                            00
                                                                                                            1,500.
     Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                            00
     Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                                    0
2.   The source of the compensation paid to me was:

                Debtor                               Other (specify)

3.   The source of compensation to be paid to me is:

                Debtor                               Other (specify)

4.            I have not agreed to share the above-disclosed compensation with any other person unless they are
           members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who are not
           members or associates of my law firm. A copy of the agreement, together with a list of the names of the
           people sharing in the compensation, is attached.

5.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy
     case, including:

     a.    Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to
           file a petition in bankruptcy;

     b.    Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned
           hearings thereof;
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     d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

     e.   [Other provisions as needed]




6.   By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                      CERTIFICATION

              I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
           me for representation of the debtor(s) in this bankruptcy proceeding.
                                                       e
               11/5/2
           ______________________                      x
           Date019                                  Signature of Attorney
                                                               Sedigh
                                                               Law
                                                    Name of law firm
